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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


Mario Pillco Morocho, Abdoulaye Fall, Darlin             )
Guillermo, Juan Carlos Illicachi Shigla, Diego           )
Galindo, Segundo Armijos, Diego Armando Gullán           )
Tixi, Miguel Lucas Ixcuna Yax, Lloyd Wafula,             )
Conroy Desmond Lewis, Carlos Menjivar Rojas,             )   Case No. ___________
Nuelson Gomes, Flavio Andrade Prado Junior,              )
Janito De Cavalho, Joao Fernandez, and Marco             )
Battistotti,                                             )   COMPLAINT AND
                                                         )   DEMAND FOR JURY
       Plaintiffs,                                       )   TRIAL
                                                         )
       v.                                                )
                                                         )
Bristol County Sheriff’s Office, Sheriff Thomas          )
Hodgson, in his individual capacity, Superintendent      )
Steven Souza, in his individual capacity, Todd           )
Lyons, in his individual capacity, the United States     )
Department of Homeland Security, Immigration and         )
Customs Enforcement, the United States of America,       )
and Officers Doe #1-26 in their individual capacities.   )

       Defendants.


                       COMPLAINT AND REQUEST FOR RELIEF
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                                        INTRODUCTION

       The COVID-19 pandemic has devastated the planet. As of the date of this filing 6.2

million people have died from the illness worldwide including approximately 20,000 people in

the Commonwealth of Massachusetts. While the disease is deadly, there are safety precautions

that can be taken and have proved effective. It has long been known, for example, that

confinement in congregate settings dramatically heightens the risk of contracting this serious,

life-threatening infection. However, despite this knowledge, and despite desperate pleas from

immigrants detained at the Bristol County House of Correction (BCHOC) in North Dartmouth,

Massachusetts, Defendants continued to detain people in close quarters in congregate settings.

They refused to take meaningful steps to ensure the safety of those detained, to engage in testing

protocols, and to release those detained, including Plaintiffs from the facility.

       The refusal to take appropriate safety measures had two consequences. First, it caused

severe harm to Plaintiffs. Plaintiffs suffered emotionally and physically from their prolonged

confinement and the risk such confinement subjected them to. Those effects persist to this day

with Plaintiffs continuing to experience both mental and physical repercussions of their time in

detention.

       Second, it caused people inside BCHOC to turn to the courts for relief. The actions of

Defendants led this Court to find a likelihood of success on the merits of Plaintiffs’ constitutional

claims concerning the unconstitutional risk of harm they faced at BCHOC. This finding lead to a

release order that removed dozens of people from the crowded BCHOC facility. But, by the time

were forced to Defendants release people under court order, significant damage had already been

done. Plaintiffs were held in a packed, unhygienic, congregate facility for months. They were not

given the opportunity to even test for COVID-19 without court order.



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         In addition to the unconstitutionally dangerous conditions suffered by Plaintiffs during

their detention at BCHOC, numerous Plaintiffs were physically attacked by some Defendants.

On May 1, 2020, Plaintiffs and other detainees complained and heightened their expressions of

concern about the sanitary conditions and COVID-19 testing protocols at BCHOC. In response,

Defendant guards used excessive force against them. They repeatedly sprayed Plaintiffs with

pepper spray, punched and kicked Plaintiffs while restrained, and then placed numerous

Plaintiffs in solitary confinement for weeks without any medical treatment, despite serious

injuries. All Plaintiffs who suffered the brunt of this attack sustained a series of serious of

physical injuries and psychological effects, including severe chest pains, limited mobility, and

extensive anxiety and depression which has seriously affected their lives and livelihoods.

        That Defendants acted with wanton disregard for the safety of those in their care and

custody is uncontroversial. There is uniform agreement that Defendants committed serious

violations that put peoples’ lives in jeopardy. Judge Young, of this Court, granted a preliminary

injunction against Defendants forcing the release of dozens of those detained;1 the Massachusetts

Attorney General’s Office investigated the attack on May 1st at BCHOC and found widespread

constitutional violations;2 and the agency Defendants themselves elected to shutter the facility

after examining this Court’s findings, the Attorney General’s report, and numerous calls from

elected officials to close BCHOC.3 The releases and additional measures forced by this Court

provided substantive prospective relief for many people in BCHOC, but none of these efforts

compensated people for the widely acknowledged harm they suffered at the hands of Defendants.


1
  Savino v. Souza, 459 F. Supp. 3d 317, 320 (D. Mass. 2020).
2
  OFFICE OF THE MASSACHUSETTS ATTORNEY GENERAL CIVIL RIGHTS DIVISION, Investigation into the Events of
May 1, 2020 at the C. Carlos Carrieiro Immigration Detention Center, Unit B, Bristol County Sheriff’s Office (Dec.
15, 2020)
3
  Alejandro N. Mayorkas, DEPARTMENT OF HOMELAND SECURITY, A First Step to Address the Conditions in
Detention Facilities (May 20, 2021) https://www.bostonherald.com/wp-content/uploads/2021/05/First-Step-to-
Address-the-Condition-in-Detention-Facilities.pdf

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     This complaint now seeks that compensation.


                               JURISDICTION AND VENUE

1.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331. Plaintiff’s claims

     arise under the United States Constitution, the Federal Torts Claims Act, 28 U.S.C. §

     1346, the Americans with Disabilities Act, 42 U.S.C. §12101, and the Rehabilitation Act,

     29 U.S.C. § 794(a).

2.   Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2) because the

     incidents giving rise to this action occurred in this district.


                                           PARTIES

                                            Plaintiffs

3.   Plaintiffs are a group of people who were detained at BCHOC during the height of the

     COVI-19 pandemic and during the events of May 1, 2020.

4.   Plaintiff Abdoulaye Fall is a thirty-seven-year-old father and husband who was detained

     in the BCHOC from May 2019 to May 2020 and currently lives in his home country of

     Senegal with his wife and children.

5.   Plaintiff Darlin Guillermo is originally from the Dominican Republic and was detained at

     BCHOC from January 22, 2020, until he was deported back to his home country on

     December 1, 2020.

6.   Plaintiff Diego Galindo is originally from Honduras and was detained at BCHOC from

     August 2019 until May 2020.




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7.   Plaintiff Juan Carlos Illicachi Shigla is originally from Ecuador and was detained at

     BCHOC from January 2020 until he was deported on June 9, 2020.

8.   Plaintiff Segundo Armijos is originally from Ecuador and was detained at BCHOC from

     January 8, 2020, until he was deported on September 5, 2020.

9.   Plaintiff Diego Armando Gullán Tixi is originally from Ecuador and member of the

     indigenous Quichua de Chimboraso people. He was initially detained at BCHOC starting

     on January 7, 2020.

10. Plaintiff Miguel Lucas Ixcuna Yax is an asylum-seeker originally from Guatemala and

     was originally detained at BCHOC starting on March 3, 2020.

11. Lloyd Wafula is an asylum-seeker originally from Kenya and has been detained at

     BCHOC starting on August 2, 2019.

12. Conroy Desmond Lewis is a lawful permanent resident of the United States who is

     originally from Jamaica and was detained beginning in August 2019.

13. Carlos Menjivar Rojas is a United States citizen and was a United States citizen

     throughout his confinement at BCHOC. He was detained at BCHOC from July 2019 until

     July 14, 2020, when he was anticipated for removal to El Salvador.

14. Mario Pillco Morocho is originally from Ecuador and was detained at BCHOC from

     December 6, 2019 through November 15, 2020.

15. Nuelson Gomes is a lawful permanent resident and was born in Brazil but entered the US

     when he was 19 years old and worked as a sanitation truck driver. He is the father of

     three U.S. citizen children with his wife who is also a lawful permanent resident. He was

     detained at BCHOC starting on October 24, 2019.




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16. Aires Da Graca is a 44 year old lawful permanent resident and was brought to the United

     States by his parents at age 13. He has lived in the United States for over 30 years and has

     no connection with his birth country of Cabo Verde in Africa. He has three U.S. citizen

     children. He was detained at BCHOC beginning on September 16, 2019.

17. Janito De Cavalho is a lawful permanent resident who has been began his detention in

     BHOC on November 4, 2019.

18. Flavio Andrade Prado Junior is from Brazil, and he was detained by ICE in BCHOC from

     April 2019 to December 2020.

19. Joao Fernandez was born in Cape Verde and entered the United States as a lawful

     permanent resident when he was eight years old. He has been detained in BCHOC

     starting on November 8, 2019.

20. Plaintiff Mario Battistotti was detained at BCHOC from March 5, 2020 until September

     11,2020.



                                         Defendants

21. Defendant United States of America manages the Department of Homeland Security

     (DHS) and subsequently the United States Immigration and Customs Enforcement (ICE).

22. Defendant Department of Homeland Security (DHS) is the federal executive department

     responsible for immigration processing, which involves overseeing Immigration and

     Customs Enforcement (ICE)’s custody of individuals in immigration detention and

     processing for deportation.

23. Defendant Immigration and Customs Enforcement (ICE) retains custody of individuals

     who are apprehended for immigration purposes and is responsible for the care of these



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     individuals while they are awaiting their immigration proceedings. ICE contracted with

     the Bristol County Sherriff’s Office (BCSO) to, among other things, detain immigrants in

     Bristol County House of Corrections (BCHOC).

24. Defendant Bristol County Sheriff’s Office (BCSO) opted to participate in federal

     immigration enforcement through an intergovernmental services agreement (IGSA) with

     ICE and provide detention beds at BCHOC for people in ICE custody. As part of the

     IGSA, BCSO was required to provide services such as bed space, medical care, facility

     inspections, transportations, and the fixed per-detainee reimbursement rate paid to the

     facility by ICE.

25. Defendant Todd Lyons is named in his official and individual capacity as the acting

     Boston Field Office Director for U.S. Immigration and Customs Enforcement. He has

     responsibility for and authority over the detention and removal of noncitizens within the

     Boston Region, which includes Connecticut, Main Massachusetts, New Hampshire,

     Rhode Island, and Vermont.

26. Defendant Thomas M. Hodgson is named in his official and individual capacity and has

     served as the Bristol County Sheriff since 1997 and was last elected in 2016. In this role,

     he maintained supervision and control over Bristol County Immigration Detention

     Facilities including BCHOC.

27. Defendant Steven J. Souza is named in his official and individual capacity. He was the

     superintendent of BCHOC and was responsible for the safety and security of the

     detention center, supervised personnel, and managed detention operations.




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28. Defendant Doe #1 is a Sherriff’s Response Team (“SRT”) officer on shift on or about

     May 1, 2020, who deployed pepper spray at numerous Plaintiffs. The identity of Doe #1

     is currently unknown to Plaintiffs.

29. Defendant Doe #2 is an SRT Bravo Leader on May 1, 2020, who administered a flash

     bang grenade with gas into the housing unit after reentering into BCHOC with the SRT

     officers. The identity of Doe #2 is currently unknown to Plaintiffs.

30. Defendant Does #3-24 are BCSO officers working on or around May 1, 2020 who were

     involved in the events at Unit B. The identity of Does #3-24 are currently unknown to

     Plaintiffs.



                               FACTUAL ALLEGATIONS

           Plaintiffs are Detained in the Bristol County House of Corrections

31. The Bristol County Sheriff’s Office operated large detention complex in North

     Dartmouth Massachusetts, which included the Bristol County Jail and House of

     Correction (BHOC).

32. This detention complex held, in its various units, people detained for civil immigration

     violations as well as people arrested for criminal violations.

33. The BHCOC was comprised of several housing units, including three special

     management units where detainees were segregated and isolated from the general

     population for administrative, disciplinary, or protective reasons.

34. At the times relevant for this complaint, immigration detainees were held in Unit A, Unit

     B, and Unit 2 East.




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      Plaintiff Fall

35. Mr. Fall was transferred from the John M. Moran Medium Security facility in Cranston,

      Rhode Island to Bristol County House of Corrections (BCHOC) on or around May 14,

      2019.

36. Mr. Fall was detained by ICE at the Bristol County House of Corrections (BCHOC) from

      May 2019 until the end of May 2020.

37. Mr. Fall arrived at BCHOC with tuberculosis, an injured knee and rotator cuff, and an

      undiagnosed condition that left him with an abnormally low white blood cell count.

38. Mr. Fall was held in Unit B of BCHOC until May 1, 2020, the day of the May 1st incident

      described below.

39. Following the attack on May 1, 2020, Mr. Fall was moved to solitary confinement until

      his transfer from BCHOC on or around May 26, 2020.



      Plaintiff Guillermo

40.   Mr. Guillermo was detained at BCHOC from January 22, 2020, to December 1, 2020,

      when he was deported to the Dominican Republic.

41. Following the attack on May 1, 2020, Mr. Guillermo was placed in solitary confinement

      twice.



      Plaintiff Diego Galindo

42. Mr. Galindo was detained at BCHOC from August 2019 until May 2020, when he was

      transferred to another facility and ultimately deported to Honduras.




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43. Mr. Galindo was held in Unit B of BCHOC until May 1, 2020, the day of the May 1st

      incident described below.

44. Following the attack on May 1, 2020, Mr. Galindo was moved to solitary confinement for

      three weeks.



      Plaintiff Shigla

45.   Mr. Shigla was detained at BCHOC from January 2020 until he was deported to Ecuador

      in on June 9, 2020.

46. Mr. Shigla was held in Unit B of BCHOC until May 1, 2020, the day of the May 1st

      incident described below.

47. Following the attack on May 1, 2020, Mr. Shigla was moved to solitary confinement for

      about a month.



      Plaintiff Armijos

48. Mr. Armigos was detained at BCHOC on January 8, 2020, until he was deported to

      Ecuador on September 5, 2020.

49. Mr. Armijos was held in Unit B of BCHOC until May 1, 2020, the day of the May 1st

      incident described below.

50. Following the attack on May 1, 2020, Mr. Armijos was moved to solitary confinement

      for thirty-one days.

      Plaintiff Guallán Tixi

51. Mr. Guallán Tixi was detained at BCHOC beginning in January 2020.




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52. Mr. Guallán Tixi was held in Unit B of BCHOC until May 1, 2020, the day of the May

    1st incident described below.

53. Following the attack on May 1, 2020, Mr. Guallán Tixi was moved to solitary

    confinement for about 40 days.



    Plaintiff Lucas

54. Mr. Lucas was detained at BCHOC beginning on March 3, 2020.

55. Mr. Lucas arrived at BCHOC with long standing kidney problems.

56. Mr. Lucas was held in Unit B of BCHOC until May 1, 2020, the day of the May 1st

    incident described below.

57. Following the attack on May 1, 2020, Mr. Lucas was moved to solitary confinement for

    about 35 days.



    Plaintiff Wafula

58. Mr. Wafula was detained at BCHOC beginning on August 2, 2019.

59. Mr. Wafula arrived with PTSD from violence he experienced in his home country and

    previously dislocated his patella in his knee twice, giving him knee problems.

60. Mr. Wafula was held in Unit B of BCHOC until May 1, 2020, the day of the May 1st

    incident described below.

61. Following the attack on May 1, 2020, Mr. Wafula was moved to solitary confinement for

    about two months.




 Plaintiff Lewis


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62.   Mr. Lewis was detained at BCHOC beginning in August 2019.

63. Mr. Lewis was held in Unit B of BCHOC until May 1, 2020, the day of the May 1st

      incident described below.

64. Following the attack on May 1, 2020, Mr. Lewis was moved to solitary confinement for

      about two months.



      Plaintiff Menjivar Rojas

65. Plaintiff Menjivar Rojas was detained at BCHOC from July 2019 until July 2020.

66. Mr. Menjivar Rojas arrived at BCHOC with asthma and prescription glasses.

67. Mr. Menjivar Rojas was held in Unit B of BCHOC until May 1, 2020, the day of the May

      1st incident described below.

68. Following the attack on May 1, 2020, Mr. Menjivar Rojas was moved to solitary

      confinement for about one month and a half.



      Plaintiff Pillco Morocho

69. Plaintiff Pillco Morocho was detained at BCHOC from December 6, 2019, to November

      15, 2020.

70. Mr. Pillco Morocho was held in Unit B of BCHOC until May 1, 2020, the day of the May

      1st incident described below.

71. Following the attack on May 1, 2020, Mr. Pillco Morocho was moved to solitary

      confinement for 45 days.



      Plaintiff Gomes



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72. Mr. Gomes has been detained at BCHOC beginning in October 24, 2019.



     Plaintiff Da Graca

73. Mr. Da Graca was detained at BCHOC from September 16, 2019.

74. Mr. Da Graca was detained in Unit 2 East of BCHOC throughout his time in detention.

75. Mr. Da Graca spent 40 days in solitary confinement.



     Plaintiff De Carvalho

76. Mr. De Carvalho was detained at BCHOC since November 4, 2019.

77. Mr. De Carvalho spent 45 days in solitary confinement.



     Plaintiff Prado

78. Mr. Prado was detained at BCHOC from April 2019 to December 2020.

79. Mr. Prado arrived at BCHOC with asthma, prescription glasses, PTSD, and a metal rod

     implant from when police officers shot him in Brazil.

80. Mr. Prado was housed with the general population of prisoners serving criminal

     sentences in Unit 2 East and then was held in Unit B until May 1, 2020, the day of the

     May 1st incident described below.

81. Following the attack on May 1, 2020, Mr. Pillco Morocho was moved to solitary

     confinement for 60 days.



     Plaintiff Joao Fernandez

82. Mr. Fernandez was detained at BCHOC since November 8, 2019.



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  83. Mr. Fernandez arrived at BCHOC with latent tuberculosis.

Plaintiff Mario Battistotti



  84. Plaintiff Battistotti was detained at BCHOC on March 5, 2020, until he was transferred to

       Plymouth on September 11, 2020, and later to Batvia on December 18, 2020. He was

       released from Batvia on February 17, 2021, back home to New York City.

  85. Mr. Battistotti arrived at BCHOC with an established diagnosis for asthma and pre-

       existing torn meniscus in his knee which caused him chronic pain.

  86. Mr. Battistotti was held in Unit B of BCHOC until May 1, 2020, the day of the May 1stt

       incident described below.

  87. Following the attack on May 1, 2020, Mr. Battistotti was placed in solitary confinement

       for many days.




People Detained at Bristol County House of Corrections were at a Known Elevated Risk of
                    COVID-19 Transmission, Infection, and Illness.


  88. COVID-19 is a deadly virus that is easily transmitted and has caused over 5.5 million

       deaths at the time filing this lawsuit.

  89. The COVID-19 virus can severely damage lung tissue, which requires an extensive

       period of hospitalization and rehabilitation, and in some cases, can cause a permanent

       loss of respiratory capacity. More is learned each passing day about the extent of

       permanent injury that may be caused by COVID-19.

  90. Any adult who contracts the virus may experience life threatening symptoms and those

       with preexisting conditions, such as being immunocompromised, makes an individual

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     especially susceptible to having serious complications in contracting COVID-19, often

     leading to death.

91. People of all ages and medical backgrounds who have experienced serious cases of

     COVID-19 describe painful symptoms, including vomiting, severe diarrhea, relentless

     shivering, and suffocating shortness of breath.

92. People who experience serious cases of COVID-19 who do not die can expect a

     prolonged recovery, including the need for extensive rehabilitation for profound

     reconditioning, loss of digits, neurologic damage, and the loss of respiratory capacity.

93. Infectious diseases that are communicated by air or touch, like COVID-19 are more

     likely to spread in these confined settings and crowded environments.

94. BCHOC was a “congregate environment” where people live and sleep in close proximity

     and it was impossible for people to maintain the recommended distance of 6 feet from

     others, especially because people must share or touch objects used by others.

95. Immigration detention facilities like BCHOC had an even greater risk of infectious

     spread because of overcrowding, the high number of vulnerable people detained, limited

     access to hygiene products, and scant access to medical care.


Defendants Continuously Ignore Plaintiffs’ Requests for Protection from COVID-19 and
                 the Imminent Danger of Infection in their Facility

96. From the beginning of the COVID-19 pandemic, ICE, BCSO, and individual Defendants

     Sheriff Hodgson, Superintendent Souza, and Director Lyons failed to take suitable

     precautions to limit the spread of the virus.




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97. Instead of implementing social distancing measure or taking affirmative measures to

     reduce the detainee population, they continued to house the same number of detainees or

     increase the number of detainees.

98. Subsequent reductions in population occurred through the course of ordinary immigration

     proceedings, or through orders of the District Court for the District of Massachusetts.

99. In February and March 2020 as news about the pandemic spread to the men in BCHOC,

     the detainees grew increasingly fearful about the unsanitary facility since it became clear

     that ICE would not provide the necessary supplies or implement measures to keep the

     detainees safe.

100. Many guards refused to wear masks and gloves as they interacted with detainees, even

     for tasks such as distributing medicines and foods.

101. On March 18, 2020, a nurse told several detainees that it was “inevitable” that they would

     contract the virus within thirty days which caused panic in Unit B.

102. In late March 2022, Plaintiffs and other detainees protested for two days to draw attention

     to ICE’s failure to protect them, especially with the lack of cleaning and hygiene

     supplies, as well as the lack of social distancing in the overcrowded facility.

103. At the same time, Plaintiffs and others drafted a letter to Defendant Hodgson outlining

     the desperate safety concerns underlying their decision to stop working.

104. Receiving no substantive response from Defendant Hodgson Plaintiffs and others

     contacted advocacy organizations and wrote letters signed by nearly every detainee in his

     Unit B demanding that ICE and BHOC take meaningful steps to protect them from

     COVID 19.




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 105. In response to the letter, the Defendant Hodgson came to Unit B and told a group of

      detainees, including Plaintiffs, that he was aware of detainees’ advocacy efforts because

      he had intercepted the letters the detainees sent.

 106. Defendant Hodgson warned them to stop their efforts and threatened, “Next time things

      will get ugly.”


As a Result of the Dangerous Conditions at BCHOC During COVID-19, Several Plaintiffs
                           File Savino v. Souza in this Court

 107. On Mach 27, 2020 detainees filed a class action lawsuit, Savino v. Souza, No. 1:20-cv-

      10617-WGY (D. Mass. 2020) (“Savino”) in federal district court seeking emergency

      release due to the unsanitary and overcrowded conditions at BCHOC that would result in

      the spread of COVID-19, and many deaths of detainees.

 108. All Plaintiffs were members of the provisionally class certified in Savino.

 109. The Savino complaint alleged that the conditions inside BCHOC were unconstitutional

      and violated the Rehabilitation Act and requested release of individuals to allow for

      social distancing guidelines to be met.

 110. On April 2, 2020 the court put together a list of twelve detainees with no criminal history

      or pending criminal charges to recommend their release.

 111. Defendants informed the court that ICE would voluntarily release six of the twelve listed

      individuals, but that ICE would not release anyone else.

 112. The court ordered bail for three additional detainees at the May 7 hearing and requested

      the parties supply a list of fifty names to consider for bail.




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113. Over the next several weeks, the district court required the parties to submit

     recommendations for each detained individual and then considered each person

     individually for bail.

114. On April 23, 2020, this Court ordered that the BCSO to submit a report on the results of

     COVID-19 testing of the detainees on or before May 7, 2020, the date of the hearing on

     the detainee’s’ motion for preliminary injunction.

115. On May 7, the federal district court judge, Judge Young, considered the motion for

     preliminary injunction and ordered the government (1) to test all detainees and staff who

     come into contact with detainees; and (2) not to admit any more detainees to this facility.

116. The Court found that the BSCO likely acted with deliberate indifference to the substantial

     risk of serious harm to the detainee class members because of “three cavernous holes” to

     their mitigation program—BSCO’s rigid blanket objection to the release of any ICE

     detainees, the lack of testing, and lack of contact tracing.

117. In the order, the Court noted that ICE had “obstinately refused” for more than a month to

     voluntarily protect the immigrants held at BCHOC.

118. This intransigence, the Court explained, flew in the face of CDC warnings that detention

     centers are especially susceptible to COVID-19 outbreaks, once the virus penetrates—as

     it already had in BCHOC by mid-March.

119. The order acknowledged that at that time of issuing the order at least eleven officers or

     other staff, one immigration detainee, and one state detainee at Bristol County House of

     Correction tested positive for COVID-19; yet virtually no one was being systematically

     tested, despite very likely exposure.




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120. The court again ordered that all individuals in immigration detention at BCSO, as well as

     all staff who came into contact with them, be tested for COVID-19 as soon as possible,

     no new individuals be admitted to immigration detention at the BCSO, and that no

     transfers be made from BSCO to another facility until the required testing came back

     negative.

121. Despite the worsening pandemic and conditions in BCHOC, ICE and the BCSO objected

     the release on bail of to every single individual considered by the court.

122. Defendants continued to attempt to prevent to the release of detainees throughout the

     entire course of the litigation despite expert declarations informing them of the danger

     that congregate facilities posed and despite an effective and safe alternative to detention

     that was currently being ordered by the Court.

123. The release of each Plaintiff was opposed by Defendants despite the known risk Plaintiffs

     faced by the fact of their detention in BCHOC.

124. Plaintiffs were all put at risk of harm and suffered because of Defendants actions.

125. In particular, Mr. Lucas faced additional risks because of his kidney problems.

126. Mr. Lucas has long standing kidney issues and had made staff at BCHOC aware of his

     condition when he regularly filed grievances to see a doctor for treatment, but the ICE

     doctor categorically refused to allow detainees to seek outside medical attention.

127. Kidney issues is a medical condition that puts Mr. Lucas at higher risk of serious harm or

     death from Covid 19.

128. Defendants did nothing to curb or ameliorate this heightened risk.

129. Mr. Menjivar Rojas and Mr. Prado faced additional risks because of their asthma.




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 130. Asthma is a medical condition that puts Mr. Menjivar Rojas and Mr. Prado at higher risk

      of serious harm or death from Covid 19.

 131. Defendants did nothing to curb or ameliorate this heightened risk.

 132. In particular, Mr. Fernandez faced additional risks because of his latent tuberculosis.

 133. Tuberculosis is a medical condition that puts Mr. Fernandez at higher risk of serious

      harm or death from Covid 19.

 134. Defendants did nothing to curb or ameliorate this heightened risk.



On May 1, 2020, Officers at BCHOC Used Pepper Spray, Attack dogs, and Excessive Force
                         Against All Plaintiffs Detained in Unit B

 135. On or around May 1, 2020, there were heightened tensions at BCHOC because of

      concerns regarding COVID-19 and possible exposure, and because the Savino lawsuit

      had been filed by Plaintiffs and other detainees against BCSO and its staff.

 136. At or around 2 pm on May 1, 2020 a BCSO nurse entered ICE Unit B and called out the

      names of 10 detainees.

 137. The nurse screened the detainees for COVID-19 by asking them a series of questions

      about their symptoms.

 138. The screening was verbally conducted in English and no formal translation or

      interpretation services were provided.

 139. Several of the detainees present, including a number of Plaintiffs speak no English or

      have Limited English Proficiency and could not understand the verbal screening.

 140. Despite this, the detainees complied with the screening assessment.

 141. Shortly thereafter, a BCSO staff member entered Unit B, along with a nurse, to transport

      the ten detainees to the segregated housing unit in the main building, where they would

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     be tested for COVID-19 and then quarantined in isolation until they received a negative

     test result.

142. Plaintiffs were scared. They had heard from correctional officers that new individuals,

     including from the criminal population, were being brought to the main building every

     day without getting tested.

143. They had heard that a number of employees, including correctional officers and a nurse

     and inmates in the main building had been diagnosed with COVID-19.

144. Other detainees heard that testing was being used as a pretext to take certain detainees to

     solitary who spoke out against the conditions of the facility.

145. Additionally, another detainee had recently being taken from Unit B to see a doctor but

     never came back.

146. The ten detainees expressed concern, anxiety, and fear related to the BCSO’s plan to test

     and quarantine them.

147. In particular, the detainees explained to BCSO staff that they were afraid that they would

     be exposed to COVID-19 in the HSU because that unit serves the entire jail population,

     including individuals who had recently arrived at the jail from the community, and that

     they were concerned about the conditions that they would face in isolation.

148. They said that they were not opposed to the test itself, only the requirement that they go

     to the main building because of the health and safety risk.

149. No detainee physically resisted transfer to the main building at that point

150. Plaintiffs in Unit B and the other detainees reiterated their concerns to the lieutenant who

     responded, “I can’t fucking do this,” before leaving.




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151. BCHOC staff then notified a series of directors, including Sheriff Hodgson about the

     group’s hesitations with going to the main building.

152. Defendant Hodgson then decided—in a departure from customary practice— to speak

     directly and in-person with the detainees about their refusal to submit to testing and

     isolation.

153. Shortly before 5:30 p.m. on May 1, 2020, Defendant Hodgson entered Unit B and called

     out for everyone to gather in the control desk in the main room.

154. Defendant Hodgson insisted that the ten detainees, including Plaintiffs, go to the main

     building to get tested.

155. Defendant Hodgson spoke in English and did not provide translation or interpretation

     services for those who did not speak English. And, once again, some of the detainees,

     including Mr. Guallán Tixi, reported that they were not able to understand what was

     happening or what was being said.

156. Defendant Hodgson threatened that if the detainees did not agree to go to the main

     building to take the test, they would be taken by force.

157. The ten detainees repeated their safety concerns, and Defendant Hodgson responded to

     them that he was “done playing games.” He stated, “You’re going to be tested and if not

     [willingly], you’ll be dragged.” One detainee asked, “What happened?” The Sheriff

     responded, “I’m not playing around. I’ve heard every phone call you guys make. You’ve

     been lying about me.”

158. When Defendant Hodgson finished speaking, he instructed a corrections officer to read

     aloud the names of the ten detainees slated to be transported and tested and reiterated the

     directive to comply with this order.



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159. When Plaintiff Fall, Plaintiff Lewis, and Plaintiff Prado’s names were called, they calmly

     told the officers that they were not feeling any COVID-19 symptoms and that they did

     not want to go to the main building. The Defendant Hodgson responded, “You’re not

     going? That’s a big mistake.”

160. At this point, Plaintiff Battistotti, one of the detainees most actively involved in ongoing

     efforts to advocate for better conditions went to the phone area and called his lawyer.

161. When Plaintiff Battistotti’s name was called, the Sheriff saw that he was on the phone

     and he became visibly angry.

162. Defendant Hodgson then ran towards Plaintiff Battistotti and physically grabbed his arm

     in attempt to get him to hang up the phone.

163. The phone fell out of Plaintiff Battistotti’s hand and he yelled, “What are you doing? Are

     you crazy? Help! You’re assaulting me!”

164. Plaintiff Battistotti’s immigration attorney, who was on the phone at the time, reported

     that he overheard him “crying out as if in pain” and “scuffling sounds” before the phone

     call was terminated.

165. A group of detainees and correctional officers ran over to Plaintiff Battistotti and the

     Defendant Hodgson, and an officer grabbed Plaintiff Battistotti by the neck and attempt

     to handcuff him.

166. Detainees and correctional officers attempted to separate the parties. Some of the

     surrounding correctional officers grabbed the Sheriff and took him out of the room.

167. Then, one of the corrections officers, Doe #1 deployed several bursts of chemical agent at

     Plaintiffs Fall, Galindo, Shigla, Armijos, Guallán Tixi, Lucas, Wafula, Lewis, Menjivar

     Rojas, Pillco Morocho, Prado, Battistotti, and several other detainees.



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168. In indiscriminately disbursing the chemical agents, Doe #1 hit all people present in the

     area regardless of involvement with the aforementioned altercation.

169. Plaintiff Fall was hit in the face, including in his mouths and eyes.

170. Mr. Fall began coughing and crying and his nose began running. He was in extreme pain

     and could barely see. His eyes hurt to open, and he did not regain his ability to see for

     some time

171. Mr. Lucas was hit in the face, including pepper sprayed in the eyes.

172. Mr. Lucas could not see or breathe, and he began coughing violently. He was unable to

     see for at least an hour. Mr. Lucas feared he was going to die.

173. Mr. Wafula was also hit in the eyes. Mr. Wafula’s eyes burned intensely, and he became

     unable to see properly.

174. Mr. Menjivar Rojas was sprayed in the face for approximately 30-40 seconds. Mr.

     Menjivar Rojas felt an intense burning pain in his eyes and could not see well.

175. Mr. Menjivar Rojas also has asthma. The pepper spray made him unable to breathe.

176. Mr. Pillco Morocho was also sprayed in the eyes. He was blinded by the pepper spray.

177. Those that were sprayed began coughing, wheezing, and/or struggling to breathe.

178. BSCO staff then released additional gas or chemical agents into the unit.

179. All detainees on the unit began coughing, choking, and crying, some began pounding on

     walls, stacking plastic furniture and writing the word “Help” on the walls and windows.

180. Some detainees, including Mr. Guallán Tixi, attempted to get on the phone to ask for help

     but the telephone lines into Unit B were disconnected. When this happened, it caused

     even more fear and anxiety from the detainees.




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181. This commotion and gassing conduct continued in earnest for approximately five

     minutes.

182. By 6:10 pm, the commotion had subsided, and the vast majority of detainees were going

     about their usual business, walking around the unit, sitting in chairs, laying in bunk beds,

     and using the phone.

183. Despite the calm state in Unit B sixteen SRT officers, the BSCO K9 Division, and

     several other corrections officers, as well as BCSO leadership, including Defendants

     Hodgson and Souza, gathered outside of Unit B.

184. The entire K9 Division responded with all active-duty dogs, three of which were muzzled

     and the rest of which were not.

185. The SRT Bravo Squad Leader (Doe #2) was armed with a flash bang grenade. In addition

     to chemical agent spray canisters and 24-inch collapsible batons, SRT officers were also

     armed with two polycaptor anti-riot shields, two shotguns with beanbag rounds, two

     pepper-ball launchers, and two battering rams.

186. Shortly before 7:15 pm, the door to the unit suddenly burst open and sixteen SRT officers

     led by the SRT Squad Leader (Doe # 2).

187. Doe #2 began throwing flash bang grenades which emitted a loud explosion and gas, and

     yelled, “Get on the ground!”

188. One of the grenades hit Mr. Pillco Morocho’s knee as it was thrown and he began to

     bleed.

189. Another flash bang grenade detonated a few feet away from Mr. Prado and the other

     detainees.




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  190. Officers shot pepper-balls as they entered the unit moment of entry by various SRT

       officers, even before the detainees could have reasonably been expected to comply with

       orders to get on the ground.

  191. The officers also shot detainees with what appeared to be rubber bullets.

  192. Mr. Armijos, Mr. Lewis, and Mr. Prado were struck several times by rubber bullets.

  193. Defendant K9 officers deployed “muzzle hits” on Plaintiffs and other detainees who were

       already on the ground and not combatting or assaulting staff.

  194. Mr. Shigla, Mr. Guallán Tixi, Mr. Wafula, and Mr. Prado were just some of those people

       attacked by a dog.



Plaintiff Fall’s Experience

  195. Plaintiff Fall retreated to the bathroom to wash pepper spray from his eyes and body and

       then laid down on the floor. When officers discovered him, they yelled at Plaintiff Fall to

       get on the floor, Plaintiff Fall said, “I am already on the floor,” and in response the officer

       told him “Shut the fuck up.”

  196. Officer Doe #3, stepped onto Mr. Fall’s neck with his leg and yanked his hands together

       behind his back to zip tie them extremely tight.

  197. Doe #4 then emptied an entire can of pepper spray on Mr. Fall’s face while Doe #3

       pressed down on Mr. Fall’s neck with his knee. Other Doe officers #4 and #5 kicked him

       over and over again.

  198. Because there was glass on the floor in the bathroom, when one of the Officer Doe #3

       kicked him in the head, a piece of glass sliced into his eyelid, and he began to bleed.




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199. Although Mr. Fall was already on the floor, face-down and not resisting, Doe Officers #4

     and #5 continued to stomp their feet on him for a prolonged period of time and yelled at

     him to stay down. Mr. Fall just kept repeating, “I am already on the floor, I am already on

     the floor.”

200. While he was being beaten, Doe #3 continued to kneel on Mr. Fall’s dug his heel into Mr.

     Fall’s right calf, just below the knee. Doe #3 ground his heel again and again into Mr.

     Fall’s leg causing him immense pain.

201. While Mr. Fall was beaten by correctional officers in the shower, one of those officers

     (Does #3-#5) yelled, “You fucking bitch-ass n---er,” at him. As Mr. Fall was being

     dragged out of the shower area, the officer who was holding him said, “I’ve got you, n---

     er.”

202. Mr. Fall heard another detainee tell the officer, “Stop hurting [Mr. Fall]! You cant do that

     to him—he has rights!” In response, the officer said, “Shut the fuck up. You bitches are a

     bunch of immigrants without papers. You have no rights.”

203. Mr. Fall was then dragged outside, where his shoes were removed, and he was forced to

     kneel facing the wall.



     Plaintiff Galindo’s Experience

204. When the SRT officers entered the unit, guards, Doe #6 and other officers restrained Mr.

     Galindo by pinning him down, zip tying him, and chaining him.

205. During this process, Doe #6, also lifted Mr. Galindo, pinned him against a wall with his

     knee digging into to Mr. Galindo’s back, causing Mr. Galindo severe pain.




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     Plaintiff Shigla’s Experience

206. When the guards entered the unit, Mr. Shigla hid in his bunk in fear.

207. Soon thereafter a guard, Doe #7, found Mr. Shigla in his bunk. The guard repeatedly beat

     Mr. Shigla on the back with the baton and shot him five times with rubber bullets.

208. Doe #8 also instructed his K9 dog to attack Mr. Shigla. The dog then violently attacked

     him.



     Plaintiff Armijo’s Experience

209. Upon entering the unit, Doe officers #9 and 10 shot Mr. Armijos several times with

     rubber bullets.

210. Doe officer #10 roughly zip-tied and forced Mr. Armijos to the ground. The zip-ties were

     painful and cut circulation from Mr. Armijos’s hands.

211. As a result of being restrained in this manner, Mr. Armijos suffered injuries to his

     shoulder and lower abdomen



 Plaintiff Guallán Tixi’s Experience

212. Mr. Guallán Tixi had a previously broken foot and hand at the time of the May 1st

     incident.

213. When the officers burst into the unit, Mr. Guallán Tixi was close to his bed near the

     unit’s laundry room.

214. Confused from the flash bang grenade and disoriented by the thick gas, Mr. Guallán Tixi

     entered the laundry room and hid behind one of the washing machines. He could hear

     other people screaming and begging for help.



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215. When the Doe Officers #11 and #12 eventually found Mr. Guallán Tixi behind the

     washing machine, Mr. Guallán Tixi told them in Spanish, “My foot is broken, my hand is

     broken” and he also tried to use hand signs to signal that he was injured. The officers

     ignored him.

216. Does #11 and 12 then grabbed his arms and twisted them behind his back, zip tying them

     tightly. They forced him to lie on the floor.

217. Once zip tied, both stomped on Mr. Guallán Tixi’s neck.

218. The officers’ violence cause Mr. Guallán Tixi to tremble and cry because he felt

     overwhelmed and feeling like he was living a nightmare.

219. Mr. Guallán Tixi saw the officers tearing apart detainees’ beds. When the officers Does

     #11 and 12 noticed that Mr. Guallán Tixi could see what the other officers were doing

     they stomped on his neck yet again.



     Plaintiff Lucas’s experience

220. Mr. Lucas ran into the laundry room and sat by the washing machines to wait for the SRT

     officers to find him.

221. Officers came into the laundry room, grabbed Mr. Lucas and dragged him to the main

     room.

222. They handcuffed his arms behind his back so tightly that they cut the skin on his wrists.

223. Doe #13 jammed his knee into Mr. Lucas’s neck. Doe #15 began to beat Mr. Lucas with

     a baton as Doe # 14 moved his knee to Mr. Lucas’s back.

224. While Mr. Lucas was pinned to the ground, other another officer, Doe #15 pepper

     sprayed his face.



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225. At no time did Mr. Lucas physically resist the officers.



     Plaintiff Wafula’s experience

226. Three officers, including Does #16-17, quickly approached Mr. Wafula in riot gear and

     with a dog, throwing him roughly onto his knees and then flat onto the ground.

227. This caused him significant pain because he had twice previously dislocated his left

     patella.

228. The officers jerked his arms behind his back and zip-tied his hands tightly together,

     hurting his wrists.

229. While Mr. Wafula was lying on the ground with his hand tied behind his back, Doe #16

     again pepper sprayed him in the face, causing an intense burning sensation and making it

     extremely difficult for him to breathe.

230. Mr. Wafula was still disoriented from the flashbang, so he started to panic because he

     didn’t know what the officers were going to do to him.

231. The officers then dragged Mr. Wafula along with the other detainees into the recreation

     yard and forced them to kneel on the concrete facing a wall. They removed his shoes and

     searched him and took a head count.

232. Mr. Wafula heard officers yelling and reflexively looked back in the direction of the

     shouting where he saw officers grabbing two other detainees. One of the officers saw him

     looking toward them and said, “That’s it.”

233. The officer, Doe #17, then approached Mr. Wafula, dragged him to the door of the

     recreation yard and told him to kneel on the floor.




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234. Mr. Wafula informed the officer that he had a knee problem and could only kneed

     slowly, but the officer tied to push him down forcefully and quickly.

235. Even as he repeated, he had a bad knee, the officer quickly pressed him to the ground,

     pressing his face against the fence while he screamed in pain.

236. Doe #17, pressed a knee against the side of Mr. Wafula’s face, making Mr. Wafula carry

     the officer’s full weight and causing injury to Mr. Wafula’s jaw.

237. Doe #16 and 17 pinned down Mr. Wafula’s legs and zip tied them.

238. Defendant Hodgson saw the interaction as well as Major Bulger who recorded it.



     Plaintiff Lewis’s experience

239. Mr. Lewis could not see after the officers fired pepper spray balls. He was crying and

     coughing from the spray.

240. Terrified, Mr. Lewis ran to a nearby room (“the movie room”) and lay down on the

     ground.

241. He heard someone say, “there’s one in the movie room,” after which several officers

     entered the room.

242. The officers, Does #18 and #19 found Mr. Lewis and began to stomp on Mr. Lewis with

     their boots and shot him repeatedly with rubber bullets which were intensely painful. He

     had cuts on his back from the beating.

243. Although Mr. Lewis was already on the floor, face-down and not resisting, Doe #18 and

     #19 continued to shoot at and stomp on him and yelled at him to stay down.

244. Mr. Lewis repeatedly said, “I’m already down,” but the officers continued their abuse.




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245. Doe # 18 handcuffed Mr. Lewis. While he was on the ground in handcuffs, Doe # 19

     emptied an entire can of pepper spray in Mr. Lewis’s face holding the spray mere inches

     from his mouth and nose.

246. Mr. Lewis became unable to breathe. He told the officers he could not breathe and one of

     the officers told Mr. Lewis, “If you move again, I’ll kill you.”

247. Mr. Lewis told the officer he wasn’t doing anything and did not understand why they

     were doing this to him. The officer responded, “shut the fuck up.”

248. Another officer told him he was going to kill Mr. Lewis because he was forced to come

     to the jail which interrupted his home barbeque with his family.

249. Mr. Lewis, distressed and disoriented, kept attempting to tell the officers that he could

     not breathe but the officers repeated that they did not care.

250. He tried to wipe his eyes with his shoulder to rid of the spray, but nothing helped. He was

     never given water to relieve the severe burning in his eyes and he could not open them

     for an hour.

251. An officer Doe #18 zip tied Mr. Lewis’s hands painfully tight, took off his shoes and left

     him to a ban where he sat around for an hour with his eyes burning.

252. The pain from the cuts on his back was excruciating and he continued to have trouble

     breathing.



     Plaintiff Menjivar Rojas’s experience

253. Mr. Menjivar Rojas was in the television area of Unit B with most of the other detainees

     when the squad of the law enforcement officers and dogs suddenly broke into the unit.

254. Terrified, Mr. Menjivar Rojas ran from the television area to the bathroom.



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255. Two other detainees followed Mr. Menjivar Rojas to the shower area and all three lay

     down on the floor with their hands on the back of their heads.

256. Soon, several officers including Does # 20-21 burst into the shower area.

257. One of the officers, Doe #20, knocked Mr. Menjivar’s eyeglasses off his face onto the

     floor and purposefully stepped on the glasses until they broke.

258. He saw that one of the officers had pepper spray can. He said to the officer, “Please don’t

     spray me, I have asthma.”

259. Even so, and although Mr. Menjivar Rojas remained on the floor and did not resist, the

     officer, Doe #21, pepper sprayed him in the face, then forcefully kneed him several times

     in the back.

260. Meanwhile, Mr. Menjivar Rojas heard officers yell verbal abuse at him and other

     detainee, including “fucking immigrants,” “this is OUR country,” “youre going back to

     the hole,” “we’re going to make your life miserable,” “fucking bitches” “assholes” “shut

     the fuck up,” and you guys don’t belong in this country.”

261. With a knee still on Mr. Menjivar Rojas’ back, Doe # 20 tightly handcuffed him.

262. As he was being handcuffed, Mr. Menjivar Rojas turned to one of the detainees laying

     down next to him and saw that the correctional officer had his knee on the detainee’s

     neck.

263. Mr. Menjivar Rojas begged the officer to stop hurting the detainee and told him that they

     had rights.

264. The correctional officers told him to “shut the fuck up” and that he and the other detainee

     “don’t have any rights” as undocumented immigrants.




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     Plaintiff Pillco Morocho’s experience

265. When the SRT team entered the unit, Mr. Pillco Morocho was standing between the

     bunks and the unit’s television. Limping because of the injury to his knee, Mr. Pillco

     Morocho moved away from the doors, toward the far set of bunks.

266. As he fled he was shot two times by Doe Officer #22 in the back with rubber bullets.

267. A pair of officers ran up to Mr. Pillco Morocho and Doe #22 stepped on his neck while

     the other Doe #23 officer lashed Mr. Pillco Morocho’s hands behind his back with zip

     ties.

268. Officer #23 then bent down and pepper sprayed his face while he was zip tied.

269. Mr. Pillco Morocho was yanked to his feet by his arms which were zip tied behind his

     back. The zip ties were so tight that the skin on his wrists were cut deeply.

270. He was crying and shouting from the pain of the pepper spray and tear gas burning his

     eyes. He felt as if he were dying.



     Plaintiff Prado’s experience

271. Mr. Prado ran to the back door close to his bunk bed and put his hands over his head. He

     got on the ground when officers entered the unit.

272. Mr. Prado was lying on the ground when a tactical officer Doe #24 ran towards him and

     shot him with rubber bullets.

273. Even though Mr. Prado kept yelling for the officer to stop, the officer continued to shoot

     him in the shoulder and back.

274. As Mr. Prado continued yelling, one rubber bullet hit the floor and went into Mr. Prado’s

     mouth.



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  275. Approximately five officers approached Mr. Prado and at least one stepped on his leg,

       including the leg where Mr. Prado has a metal rod.

  276. The officers held each of his legs, pressed a knee into his back and neck, kneed him in the

       side, and handcuffed him. Mr. Prado could not breathe.

  277. As Mr. Prado attempted to alert the officer that he could not breathe, Doe #24 continued

       to spray him in the face with pepper spray even though he has asthma.

  278. An officer told him, “If you can talk, you can breathe.”

  279. At this point Mr. Prado could not breathe or see well because of the rubber ball lodged in

       his throat and the pepper spray that he inhaled.

  280. After zip typing Mr. Prado’s legs and arms, the officers dragged Mr. Prado outside and

       forcibly put Mr. Prado on his knees with his face toward the wall.

  281. One officer also took Mr. Prado’s facemask which had fallen of Mr. Prado’s face and was

       wet with pepper spray, and placed it over Mr. Prado’s mouth.

  282. Mr. Prado was dragged to the recreation area where the nurse asked him what was wrong,

       but he was unable to talk.

  283. Mr. Prado passed out because he was not receiving enough oxygen.

  284. Mr. Prado regained consciousness moments later and vomited and feeling the rubber

       pieces of the bullet in his mouth.

  285. As he tried his best to breath, Mr. Prado began to feel dizzy and passed out again.

  286. He was taken to the hospital.



Plaintiff Battistotti’s experience




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287. Defendant Hodgson pointed his finger at Mr. Battistotti and said, “You, troublemaker, get

     pen and paper and come here. Come on, let’s go.”

288. Mr. Battistotti believed the tension with the Sheriff would escalate, so he phoned his

     attorney for instruction on how to handle the situation.

289. The Sheriff suddenly grabbed the phone and pushed Mr. Battistotti against the phone

     booth. Sheriff Hodgson continued to violently shake Mr.Battistotti.

290. Mr. Battistotti was able to turn away from the Sheriff only to be pepper sprayed in his

     face and mouth by Doe #1.

291. Several of the detainees moved to assist Mr. Battistotti and the Sheriff left the unit.

292. An hour later when the guards entered into the unit, Mr. Battistotti was laying on his

     bunk, face down, and eyes closed.

293. A few minutes later, Doe officer #25 tightly handcuffed him behind his back, so tightly

     that he begged the guard to loosen the cuffs, but Doe #25 did not.

294. Doe #25 threw Mr. Battistotti to the floor and put a knee on his back with all his weight

     on him.

295. Mr. Battistotti screamed “You are breaking my back!”

296. The guard kept his weight on Mr. Battistotti for about 10 minutes.

297. Once outside, Mr. Battistotti was grabbed by the shirt and face by two officers including

     Doe #26.

298. The officers screamed at him to look at the sheriff and forced him to his knees.

299. Doe #26 then smashed Mr. Battatotti’s head into a wall

300. Eventually, Mr. Battistotti was transported to the main building and was seen by medical

     staff.



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  301. SRT officers then took all detainees from Unit B outside one-by-one and placed them,

        with force, on their knees facing the wall in the recreation pen.

  302. Detainees kneeled against the wall for approximately two hours.

  303. After this time corrections officers began to load the detainees one-by-one into transport

        vans.

  304. Officers removed the detainees’ masks, latex gloves, and shoes before the pat search,

        putting the detainees and BCSO personnel at increased risk of COVID-19 exposure.



                       Injuries and aftermath from May 1, 2020 Incident

Plaintiff Fall

  305. After being transported from Unit B Plaintiff Fall was placed in a holding cell with new

        inmates off the street were placed in the same cell as him without getting tested for

        COVID-19.

  306. He was then moved to a restrictive solitary cell.

  307. He was given no method to decontaminate after being sprayed and was not treated for the

        glass lodged in his eyes.

  308. Because Mr. Fall received no treatment for any of his injuries, he flushed his eyes in his

        cell, and removed the glass lodged in his eyelid himself.

  309. While in the restrictive solitary cell Plaintiff Fall was not allowed to shower for one

        week.



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  310. He did not receive bedsheets or shoes for three days and his multiple requests for

       sanitation supplies but was provided only with a single 1-ounce bottle of shampoo to use

       for showring and for cleaning his clothing.

  311. Plaintiff Fall suffers from low white blood cell count and for the one month he was

       placed in the restrictive housing unit his physical and mental health continued to worsen.

  312. Mr. Fall often got dizzy and experienced chest pains and requested assistance almost

       daily, but the medical staff never came to see him in a timely fashion.

  313. Mr. Fall also struggled, in particular, with his mental health while in solitary. He was left

       to suffer the psychological injuries from the May 1st attack. He began talking to himself

       and hearing voices threatening his wife.



Plaintiff Guillermo

  314. Following the May 1st attack, Mr. Guillermo was placed in a Restrictive Housing Unit

       (RHU).

  315. As a result of the solitary confinement, Mr. Guillermo experienced heightened stress and

       anxiety which manifested physically in the form of severe migraine headaches. These

       headaches caused Mr. Guillermo to suffer significant pain and dizziness and would last

       all night. Mr. Guillermo requested medical help for the recurring migraines on several

       occasions.

  316. Mr. Guillermo was never permitted to see a doctor regarding his condition while detained

       at BCHOC. Prior to being detained at BCHOC, Mr. Guillermo had never suffered from

       migraine headaches.




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Plaintiff Galindo

  317. Immediately following the May 1 incident, Mr. Galindo was transported to the

       Restrictive Housing Unit.

  318. Ultimately, Mr. Galindo spent a total of three weeks in “the hole,” following the May 1st

       incident, which involved being kept in restraints for 24 hours, 7 days a week, including

       while eating, showering, and using the bathroom.

  319. Mr. Galindo was put in a solitary cell without any toiletries to clean himself or

       decontaminate.

  320. Mr. Galindo suffered extreme stress, anxiety, and depression while he was held in

       solitary confinement.

  321. As a result of the stress and anxiety in solitary, he attempted to commit suicide in the

       bathroom in the middle of the night.

  322. The guards found Mr. Galindo during this attempt and took him to the infirmary.

  323. After being released from the infirmary, Mr. Galindo was placed back in solitary

       confinement for a week even though the facility was aware of his previous suicide

       attempt.



       Plaintiff Shigla

  324. Immediately following the May 1st incident, Mr. Shigla was transported to the RHU and

       ultimately spent a total of four weeks there. This involved being kept in restraints for 24

       hours, 7 days a week, including while eating, showering, and using the bathroom

  325. Mr. Shigla was put in a solitary cell without any clothes and without the opportunity to

       shower to decontaminate from the pepper-spray used by the guards during the attack.



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     Because he was denied the chance to decontaminate, Mr. Shigla’s eyes and skin were still

     burning from the pepper spray, which caused him significant physical pain.

326. Mr. Shigla was left in solitary confinement without food or water for two days.

327. Following the May 1st incident, Mr. Shigla experienced chronic severe back pain. Mr.

     Shigla repeatedly sought medical treatment for his back pain, including submitted

     repeated requests for x-rays, but his requests were ignored.




     Plaintiff Armijos

328. Immediately following the May 1 incident, Mr. Galindo was transported to the RHU and

     ultimately spent 31 days in solitary confinement.

329. For the first 3 days of confinement, he was denied medical care for his shoulder injury

     caused by officers when they forced him to the ground.

330. Additionally, Mr. Armijos requested and was denied a blanket for the first 3 days.

331. Mr. Armijos lived in a cell with toilets connected to other similar cells. When a prisoner

     would attempt to flush a toilet, it would overflow, covering the floor of his cell in waste.

332. Although Mr. Armijos repeatedly requested shoes or sandals to wear to protect himself

     from the waste on the floor of the cell, his requests were denied, forcing him to walk

     barefoot on the unsanitary floor of his cell. This was especially troublesome because

     COVID-19 created a further risk in remaining in unsanitary conditions.

333. The conditions in his cell were so bad that Mr. Armijos frequently found himself unable

     to eat.



     Plaintiff Guallán-Tixi


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334. Despite the serious attack he had just experienced, BCHOC staff conducted only a

     negligible medical check on Mr. Guallán Tixi. The nurses could not communicate with

     Mr. Guallán Tixi, and no further medical services were provided.

335. Immediately following the May 1 incident, Mr. Guallán-Tixi was transported to the RHU

     ultimately spent about 40 days in solitary confinement.

336. Mr. Guallán-Tixi spent days after the incident with a fever, headache, and physical pain

     throughout his body. He received no further treatment for his injured hand and foot, both

     which continued to have lasting pain.

337. Mr. Guallán-Tixi was not permitted to shower for seven days following the May 1st

     assault.



     Plaintiff Lucas

338. The officers took Mr. Lucas and others to the medical unit. They saw him trembling and

     noted that he had submitted mental health requests, indicating that he would be taken to

     suicide watch.

339. Mr. Lucas vehemently denied being suicidal but the staff ignored him. The officers

     placed Mr. Lucas on suicide watch in the RHU where he spent about 35 days.

340. They took all of his clothes, leaving him naked for a week.

341. He was only provided with a single bedsheet and a filthy, reeking mattress.

342. ICE did not allow him to shower or brush his teeth that week.

343. Despite classifying him as suicidal, no additional steps were taken to treat or monitor his

     mental health.




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344. Staff refused to provide him with medical care for the continued chest pain he was

     experiencing and correctional officers have warned that if he continues to complain about

     his chest pain, “They’re going to put you in the hole.” Since then, Mr. Lucas was scared

     to draw attention to his health problems in fear of being thrown in the RHU.



     Plaintiff Wafula

345. The officers put Mr. Wafula in a transport van and took them to medical in the main

     facility.

346. Mr. Wafula told the nurse that the officers injured his right knee and right wrist. The

     nurse lifted his pant leg and saw he was bleeding but did not examine it further. The

     interaction lasted two minutes.

347. The nurse gave him a band-aid but no other medication or treatment and ignored his wrist

     pain.

348. Following the visit to medical he was taken to the RHU where he remained in solitary for

     the next two months.

349. When Mr. Wafula asked for food on the first night, an officer laughed at him and told

     him, “You should have thought about what you were doing.” He did not receive food

     until the next day.

350. During the first few days in solitary, Mr. Wafula slept without bed sheets or a blanket and

     was not given shoes, so he was very cold.

351. Mr. Wafula suffers from PTSD from what he has experienced in his home country. His

     PTSD was aggravated during his time in the RHU and he began to see things and hear

     voices that are not present in reality.



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352. Mr. Wafula repeatedly requested mental health services but has repeatedly ignored. He

     has asked for medication to help with his anxiety but did not receive a response for over a

     month, despite several requests and grievances



     Plaintiff Lewis

353. Mr. Lewis was taken to see a nurse following the May 1st attack. He told her he could not

     see anything. The nurse provided no medicine or other relief.

354. He was later thrown in the shower but he was not provided with supplies to clean himself

     or the spray off his skin, so the water simply exacerbated the burning sensation.

355. Mr. Lewis was then taken to the RHU where he stayed for two months.

     His skin still burned from the pepper spray, and he was not permitted to take a shower

     again for days. For weeks after May 1st, Mr. Lewis’s skin burned every time he took a

     shower.

356. Mr. Lewis’s cell was filthy, and they did not provide him with cleaning supplies or

     personal hygiene supplies.

357. Mr. Lewis was not allowed to have shoes or socks and was not given bedsheets or

     blankets, so he felt as if his feet were freezing, and they became painful from the cold.

358. He feared contracting COVID in these conditions.

359. His confinement in the RHU took a toll on his mental health and he frequently had

     nightmares.

360. Mr. Lewis frequently requested mental health support but in response only received

     books or puzzles which did nothing to alleviate his suffering.




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     Plaintiff Menjivar Rojas

361. Mr. Menjivar Rojas was transported to the medical unit and he told the nurses that his

     eyes were burning, could not see well, and was having difficulty breathing because the

     pepper spray interrupted his asthma.

362. One of the nurses for Unit B told a correctional officer that a few of the detainees had

     health conditions that required attention, including difficulty breathing, but the officer

     ignored her. Because of Mr. Menjivar Rojas’s asthma, which had been exacerbated

     during the attack from pepper spray, this was particularly troublesome.

363. Mr. Menjivar Rojas was taken to the RHU where he spent about a month and a half.

364. His eyes burned from the pepper sprayed for four days following May 1, particularly

     when he took a shower.

365. He was placed in a cell flooded with water and sewage from a backed-up toilet, and

     because his shoes had been confiscated, he was forced to wade through the sewage water

     with only socks on.

366. On his first night in the RHU, the cell smelled so strongly of fecal matter that Mr.

     Menjivar Rojas became increasingly nauseous and vomited.

367. During his first week in solitary confinement, Mr. Menjivar Rojas asked correctional

     officers for cleaning supplies multiple times, but they refused his requests.

368. Eventually Mr. Menjivar Rojas had to do his best to clean his sewage-and water-laden

     cell with personal hygiene products, like shampoo and soap.

369. Because the officers also refused his requests for paper towels, Mr. Menjivar Rojas had to

     rip off part of his clothes to use as a cleaning towel.




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370. The assault and conditions in the RHU were damaging to Mr. Menjivar Rojas’s mental

     health.

371. He started having nightmares and lived in a state of general anxiety. He also began to

     have frequent panic attacks, during which his heart raced, had trouble breathing, and he

     felt as if he was dying.

372. He cannot remember spending more than three days without having a panic attack during

     his time in the RHU.

373. He also has repeated flashbacks to the May 1st assault.

374. He repeatedly informed officers and nurses of his panic attacks and asked for medical

     help but his request for mental health treatment went ignored for weeks



     Mr. Pillco Morocho

375. Mr. Pillco Morocho was taken to the medical unit and was given Motrin for his back and

     knee pain but his knee was never cleaned and remained bloody for two days following

     the attack.

     .Mr. Pillco Morocho was placed in the RHU where he remained for 45 days.

376. When he arrived, officers removed all of Mr. Pillco Morocho’s clothes and left him

     naked for two days, with only a small towel for modesty and for warmth, in a filthy cell.

     He was also not permitted to fully clean himself in a shower for a week, although his skin

     was constantly burning from the pepper spray and tear gas.



     Mr. Da Graca

377. Mr. Da Graca was put in solitary for about 40 days.



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378. During Mr. Da Graca’s time in isolation he suffered a serious shoulder injury. While Mr.

     Garca was in handcuffs travelling to and from the showers, Mr. Da Graca fell hard on the

     steel stairs and could not break his fall with his hands.

379. When BCHOC guards observed Mr. Da Graca’s fall on the facility’s cameras, they lifted

     him off the floor and took him back to his isolation cell.

380. About a month after the injury occurred, x-rays were taken of Mr. Da Graca’s shoulder

     and leg, although he received no MRI test, calcium test, or ultrasound examination as is

     often standard in such injuries.

381. Mr. Da Graca was diagnosed with a rotator cuff injury. He was told that he will require

     surgery to repair his rotator cuff, but he received no such surgery.

382. He has also been told that he should have received physical therapy on his shoulder, but

     he only received one short session at BCHOC.



     Mr. De Carvalho

383. Mr. De Carvalho was one of several detainees who spoke up regarding the inhumane

     conditions at BCHOC after the May 1st attack and the facility’s response to the COVID-

     19 pandemic. The group requested information from the guards regarding how the

     detainees should protect themselves.

384. After voicing his concerns Mr. De Carvalho was forced to the ground, cuffed, and taken

     to solitary confinement. Even though there was no danger of violence, the officers cuffed

     Mr. De Carvalho behind his back and twisted his arm, injuring his shoulder.

385. Mr. De Carvalho spent 45 days in solitary.




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386. Being in solitary left him to feeling paranoid, depressed, and that he had to “look over his

     shoulder.”



     Mr. Prado

387. When he woke up from passing out from the May 1st attack, he was being transferred into

     the ambulance and transported to St. Luke’s Hospital with symptoms of respiratory

     distress.

388. While he was in the hospital he was handcuffed to the bed with two officers at his side.

389. Once Mr. Prado’s condition stabilized, he was put on observation status.

390. Despite this fragile condition, the correctional officers who were at Mr. Prado’s side

     verbally threatened and physically assaulted him. They grabbed his injured leg, twisted it

     and asked, “Is this the leg? Do you feel pain?”

391. One officer, held his cell phone up to Mr. Prado and played audio which said “I hope you

     die slowly” in Portuguese and asked, “does that sound right?”

392. The officer proceeded to make disparaging jokes about Brazil and warned Mr. Prado that

     he would “pay” when he got back to the detention facility.

393. The officer further threatened that he would be transferred to Alaska where he had to

     serve a longer sentence.

394. When Mr. Prado asked the officers to release the handcuffs because they were tight, the

     officers pressed the handcuffs tighter.

395. Mr. Prado was discharged and brought to the medical area at BCHOC.

396. On May 2, Mr. Prado was taken to the RHU where he stayed in solitary confinement for

     60 days.



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397. He was still covered in pepper spray, unable to talk or walk properly because of the

     injuries he sustained.

398. Despite his injuries, he was not examined by a doctor at BCHOC for several weeks.

399. He was not given a mask or other way to prevent COVID 19 until May 4th.

400. It was not until May 7 that Mr. Prado received paper and hygiene kits, underwear, and

     clean uniforms.

401. After being placed in solitary, Mr. Prado’s mental health deteriorated. This included

     becoming depressed, losing weight, experiencing frequent migraines and suffering from

     memory loss. This worsened as he felt threated by the correctional officers tightening his

     cuffs and threatening him with more jail time.

Plaintiff Battistotti

402. Mr. Battistoti was taken to receive a medical evaluation and the nurse concluded he was

     fine.

403. Yet, Mr. Battistoti had indentations on his wrists from the tight flex cuffs which were

     extremely painful and he was uncontrollably shaking.

404. Mr. Battistotti was taken to the RHU where he remained in solitary for many days.

405. He was then placed in a freezing shower, wearing only a small blue tarp, where the

     pepper spray was quickly washed.

406. Officer put Mr. Battistotti in a cell, naked, where he remained for three days under 24-

     hour surveillance.

407. Mr. Battistotti was put on suicide watch despite being cleared as not a suicide risk.

408. Eventually, the round the clock surveillance stopped, and Mr. Battistotti was given

     clothes, but remained in segregation.


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 409. During this time, Mr. Battistotti continued to experience intense pain and swelling due to

      the injuries he incurred during the May 1 incident.

 410. He was suffering from hemorrhoids and bleeding badly. He requested medical attention,

      that request was also denied.

 411. Eventually, Mr. Battistotti was taken to another section of the RHU where he was housed

      with other detainees from ICE B.

 412. In this area, the toilet was never cleaned and did not work properly. The toilet often

      overflowed and made a mess on the floor.

 413. Mr. Battistotti injured his foot on the curb of the shower. Mr. Battistotti requested

      medical assistance which was finally seemingly granted however BCHOC refused him a

      wheelchair or crutches, so it was impossible for him to reach the doctor.

 414. Adding to his anxiety, the guards would often start rumors among the inmates that Mr.

      Battistotti was a child molester, causing inmates to intimidate him by banging on his cell

      and calling him names.



The Massachusetts Attorney General Office Conducts Their Own Investigation and Finds

          that Detainees Rights for Violated, Resulting in the Closing of BCHOC



 415. After the May 1 Incident, the Special Investigations Unit (“SIU”) of BCSO opened an

      investigation into the attack. The Massachusetts’s Attorney General’s Office (“the

      AGO”) had many “concerns about the integrity and independence of the investigation,”

      including that BSCO did not make efforts to determine whether the extent of force used




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     was appropriate and that BSCO leadership may have influenced the contents of incident

     reports filed by BCHOC staff.

416. Subsequently, on May 5, 2020, the Civil Rights Division of the Massachusetts Attorney

     General’s Office (“the AGO”) opened an investigation into the May 1,2020 attack after

     the AGO received multiple complaints that BCSO personnel, including Defendant

     Hodgson, used excessive force against detainees.

417. The AGO concluded that institutional failures at BCHOC and poor decisions by BCSO

     leadership “culminated in a calculated—that is planned and deliberate—use of force

     against the ICE B detainees that was disproportionate to the security needs at the time

     and the unnecessarily caused, or risked causing, harm to all involved.”

418. The AGO found that the evidence supports the conclusion that the May 1st attack violated

     detainees’ rights under the Fourteenth Amendment and the Massachusetts Declaration of

     Rights.

419. Furthermore, the AGO concluded that the BCSO acted with deliberate indifference to a

     substantial risk of serious harm to the health of the detainees in using an excessive

     amount of pepper spray, including against detainees with respiratory conditions.

420. Finally, the AGO found that many detainees were not given adequate medical attention

     following exposure to pepper spray nor given sufficient opportunity to decontaminate.

421. The AGO ultimately recommended a series of steps the BCSO should undergo in order to

     address the systemic constitutional violations that resulted in this May 1st attack.

422. Most notably, the AGO recommended that the Homeland Security terminate its ICE

     contract with Bristol County Sheriff’s Office given the clear evidence that the BSCO

     violated the Detention Standards.



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  423. It also recommended that DHS should terminate its 287(g) agreement with the BCSO so

        that the BCSO can no longer participate in immigration enforcement.

  424. On May 20, 2021, Homeland Security Secretary Alejandro Mayorkas directed ICE to

        discontinue their contract with the Bristol County Sheriff’s Office as well as to close

        Bristol County Detention Center because of the government’s conclusions of the

        mistreatment of detainees during the May 1, 2020, attack.

  425. In a memo to ICE Acting Director Johnson, Secretary Mayorkas stated, “Allow me to

        state one foundational principle: we will not tolerate the mistreatment of individuals in

        civil immigration detention or substandard conditions of detention.”

  426. Massachusetts Attorney General Maura Healey commended the termination of the

        contract noting, "Our extensive investigation and advocacy have made it clear that the

        Sheriff’s Office is not willing to take any steps to protect the rights and safety of

        detainees.”

  427. Detainees were systematically transferred out of the detention center either to be released,

        deported, or transferred to another facility.



                             Continuing Harm Suffered by Plaintiffs

Plaintiff Fall

  428. Plaintiff Fall has noticed his health and strength deteriorate. His head hurts constantly,

        and he suffers from sudden dizziness and chest pains.

  429. Mr. Fall has twice sought emergency care are at a medical clinic in Senegal, but they

        state that they do not have the resources to do a full evaluation.




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430. Mr. Fall suffered a large, painful cut on his eyelid from the attacks of officers on the May

     1, 2020, and continues to have trouble seeing out that eye.

431. Mr. Fall suffers bruises that lasted a month and his hands still hurt and go numb at times.

     His index fingers have not regained full range of motion.

432. The May 1st assault reinjured Plaintiff Fall’s previously injured knee because the officer

     ground his heel into Mr. Fall’s calf. His knee is not healed and continues to cause him

     pain. He is unable to sit comfortably and is also unable to walk for very long before

     feeling debilitating knee, calf, and back pain.

433. The officers in the May 1st incident also severely tore his already injured rotator cuff

     when they yanked his arms behind his back and zip tied his wrists, dragged him from the

     bathroom floor, and shoved him into the van. Mr. Fall experiences pain in his shoulder

     regularly.

434. Mr. Fall lost his ability to perform many of the everyday activities that he was before the

     attack. Before the attack, Mr. Fall was accustomed to bench press 370 pounds before the

     accident, now he can no longer do push ups and he is unable to sleep on his right side due

     to pain.

435. He also has severe shortness of breath, dizziness, and chest pains even when walking.

436. Mr. Fall suffers from constant anxiety and depression as a result of the injuries he

     sustained at BCHOC. He finds it difficult to speak with his wife and children because he

     is overwhelmed by feelings of panic, exhaustion, and stress of managing his physical and

     psychological pain. He has sudden anger and episodes of talking to himself.

437. Once social and easy going, Mr. Fall is now fearful and withdrawn and finds it too

     stressful and frightening to spend time with others.



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438. He had to move out of the home he shared with his mother in order to be alone because it

     was the only way he feels safe. Several times a week he has panic attacks and nightmares

     in which he fears he is being pursued by BCHO.

439. Seeing men in uniform or even riding in cars causes him to experience flashbacks or feel

     disoriented.



     Plaintiff Guillermo

440. As a result of the attack and confinement in BCHOC, Mr. Guillermo now experiences

     heightened stress and anxiety which manifest physically in the form of severe migraine

     headaches.

441. These headaches caused Mr. Guillermo to suffer significant pain and dizziness and

     sometimes last all night.



     Plaintiff Galindo

442. Mr. Galindo stated that being detained during COVID-19 caused him to experience

     severe stress, anxiety, and fear. This was especially true because his grandfather passed

     away while he was detained from contracting COVID 19.

443. Mr. Galindo also experienced extreme back pain from when the guard forcefully pinned

     him down with his knee.

444. As explained, solitary confinement after the May 1st assault also caused Mr. Galindo to

     begin to have thoughts of ending his life, resulting in him attempting to commit suicide.



     Plaintiff Shigla



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445. Upon returning to Ecuador, Mr. Shigla had an x-ray done on his back and was informed

     he had permanent spinal damage from the May 1st attack.

446. Due to his injuries and despite being only 31 years old, he can no longer sit or stand for

     long periods of time and cannot lift his arms above his head.

447. Prior to being detained at BCHOC, Mr. Shigla worked in construction. Due to his spinal

     injuries, Mr. Shigla is no longer able to work in his trade.

448. His detention at BCHOC also caused Mr. Shigla to have worsening physical symptoms of

     stress and anxiety he was already suffering as a result of the squalid conditions and the

     facility’s poor handling of the COVID-19 pandemic. Prior to his detention at BCHOC

     and the May 1 incident, Mr. Shigla had no history of mental health issues



     Plaintiff Armijos

449. Mr. Armijos’s mental health significantly deteriorated following the May 1, 2020

     incident and subsequent confinement. Mr. Armijos has suffered a great deal of anxiety

     and mental anguish, from which he is still presently struggling to recover.



     Plaintiff Guallán Tixi

450. As a result of his treatment on May 1st, Mr. Guallán-Tixi suffered acute stomach pain

     and his genitals became visibly inflamed and infected.

451. After the May 1, 2020 attack it also became exceedingly difficult for Mr. Guallán to open

     his mouth to breath and his throat became so inflamed that he was constantly coughing.




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452. The attack triggered long held emotional trauma from Mr. Guallán Tixi’s past including

     where soldiers in his home country badly beaten Mr. Guallán Tixi by whipping him with

     the flats of machetes and forced him to eat dog meat.

453. The attack left him mentally and emotionally damaged. He has difficulty remembering

     events that occurred and even has difficulty remembering content of conversations he just

     had.

454. These were not typical for him before the May 1st attack—in fact he was able to leave his

     hometown because of academic success. He is worried that his mind is so emotionally

     damaged he will not be able to find work again.

455. Mr. Guallán Tixi also dissociates from reality and can still see the Sheriff shooting

     everyone when he closes his eyes.

456. He has difficulty eating, sleeping and speaking because of the May 1st attack and

     unhygienic conditions while in ICE custody.



     Plaintiff Lucas

457. Mr. Lucas also suffers acute psychological terror as a result of the attack because it

     triggers his childhood trauma. Mr. Lucas witnessed the aftermath of a massacre carried

     out by guerillas in his village in Guatemala who killed his grandparents, uncles, and

     father. Since then, he has been haunted by the memory and avoids dangerous situations.

458. Seeing the guards fathering outside triggered this trauma He has trouble sleeping and

     suffers from nightmares of having a gun put to his head. He often trembled involuntarily

     when he was approached by correctional officers.




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459. As a result of the attack, Mr. Lucas developed severe chest pain and pain in his left arm,

     which greatly concern him because of his family’s history with heart disease. The chest

     pain sometimes causes Mr. Lucas to cough up blood.



     Plaintiff Wafula

460. Mr. Wafula’s wrist was injured as a result of the officers’ zip tying his hands too tight

     and he never received any medical care, even though he requested it many times. His

     wrists were also in great pain and the marks from his zip ties remained for week.

461. Mr. Wafula has difficulty with his grip, and he cannot do exercises he used to do on a

     regular basis like pushups or pull ups.

462. His knee is also injured from the officers stepping on his knee.

463. About a month after the incident, he had an x-ray done showing a chipped bone in his

     right knee.

464. He has constant pain in his right knee and takes painkillers every day. He is unable to

     run, jog, or stand for more than an hour at a time.

465. He constantly wakes up with his knee feeling numb and is unable to stand in the morning.

466. He has gained weight and is unable to exercise.

467. The May 1st attack also caused his jaw pain to worsen. He wakes up with his jaw tight

     and shut and is unable to yawn or open his mouth for up to two days.

468. This did not happen before an officer knelt with his full weight on Mr. Wafula’s face on

     May 1st.




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469. Mr. Wafula’s PTSD was also aggravated by his confinement in BCHCOC and the May

     1st attack. He began to see things and hear voices after the May 1st attack, and he

     constantly feared that officers could assault him at any time.

470. He continues to have frequent nightmares and struggles to sleep.

     Plaintiff Lewis

471. Mr. Lewis received lasting cuts from on his back from the beatings on May 1st.

472. The pain was excruciating, and he continued to have trouble breathing for weeks.

473. His wrists were also in great pain and the marks from his zip ties remained for week.

474. His confinement in the RHU took a severe toll on his mental health. Mr. Lewis suffers

     from nightmares about being shot and beaten by prison guards after the May 1st attack.

475. He remains in a state of hypervigilance as he constantly relives being pepper sprayed in

     the face or being beaten on the ground.

476. The assault also triggers memories of his long-held trauma related to the violence he

     experienced as a child in Jamaica, his father’s abusiveness and being shot.

     Plaintiff Menjivar Rojas

477. As a result of attack, he struggles with severe back and neck pain.

478. He is also unable to lift heavy objects because of his back pain which he did not

     experience these symptoms before May 1st.

479. Mr. Menjivar Rojas’s eyes still bother him to this day.

480. Mr. Menjivar Rojas’s mental health was also severely affected. Because of the events at

     BCHOC he has frequent panic attacks, nightmares, and struggles with anxiety. This

     causes him to have trouble breathing and his heart races.

 Plaintiff Pillco Morocho



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481. As a result of the attack, Mr. Pillco Morocho sustained injuries to his knee, back, and

     foot.

482. Mr. Pillco Morocho has a lasting scar because of the flash bang grenade that hit his knee.

483. He also still has scars on his back from the bullets.

484. He continues to live with backpain from the injury.

485. Mr. Pillco Morocho also experiences severe digestive problems and stomach pain caused

     by his time in detention.

486. He suffers from persistent diarrhea and stomach pain which he developed from the

     unsanitary conditions in Unit B and constant hunger while detained.

487. This was exacerbated in the RHU where he could not access canteen food that was

     necessary to supplement his diet.

488. He also was unable to work in the RHU. Even once outside the RHU, he was unable to

     resume his cleaning work because he felt he did not have the physical strength or

     emotional ability because of the trauma.

489. As a result, he could not afford the canteen food necessary for his stomach which

     exacerbated his condition.

490. Mr. Pillco Morocho’s mental health was damaged. He is constantly depressed and

     experiences recurring fears of sudden violence inflicted by armed officers and dogs.

491. The emotional trauma also manifests physically because he often trembles from stress

     and fear of unprovoked and violent attack.

492. His fear and lingering physical trauma means that he cannot live a normal life as the

     incidences weigh heavily on his memory.

     Plaintiff Gomes



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493. Mr. Gomes has trouble sleeping because the stress and anxiety from his confinement

     during the Covid-19 pandemic was too painful.

494. Although he never had high blood pressure prior to being detained, it has now become a

     health issue.

495. Mr. Gomes has stated that he feels worthless and powerless because his complaints about

     his health and living conditions are ignored, and he cannot do anything else to improve

     the conditions under which he was being held.

496. He describes his experience as a kind of a nightmare from which he cannot wake up.



     Plaintiff Da Garca

497. Mr. Da Graca has continued to have shoulder pain for many months following his injury

     in solitary.

498. His shoulder pain is so severe that simple actions, like lifting his arm over his head,

     brushing his teeth, and covering himself with a blanket while he sleeps continue to cause

     him intense pain.

499. Mr. Da Graca has developed from significant anxiety during his time imprisoned at

     BCHOC.

500. He has repeatedly experienced alarming bouts of shortness of breath, fits of unprovoked

     crying, and severe headaches, all brought on by this anxiety.

501. Mr. Da Graca did not suffer from anxiety before he was detained at Bristol.

502. His anxiety is due to a combination of factors, including numerous instances of mental

     stress which arose from a lack of protection from the COVID-19 virus, in addition to a

     lack of necessary medical care.



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503. He repeatedly sought medical assistance with the on staff nurse for his severe anxiety but

     received no such care.

504. Mr. Da Graca’s detention at BCHOC has led directly to his significant psychological and

     emotional distress.

505. His time incarcerated in BCHOC has turned him from a healthy man into one afflicted by

     numerous, potentially lifelong diseases and injuries.

     Plaintiff De Carvalho



506. Mr. De Carvalho has felt an overwhelming sense of anxiety while detained at BCHOC,

     which has caused him to experience severe mental and physical symptoms.

507. Upon his detention at BCHOC and, more specifically since March 2020, Mr. De

     Carvalho has had trouble sleeping and low energy.

508. Significantly, Mr. De Carvalho lost over 30 pounds (from 206 to 174 lbs.) during his time

     in detention.

509. Mr. De Carvalho describes his anxiety and depression as being much more pronounced

     than any other time in his life, including his previous incarceration.

510. Prior to being detained at BCHOC, Mr. De Carvalho was not experiencing anxiety or

     depression and was enjoying his life.

511. However, he now struggles every day to just get out of bed and doing even the most basic

     tasks takes a supreme amount of effort.

512. Mr. De Carvalho saw a medical professional while detained who told him that his weight

     loss was directly related to his anxiety and that it was “pretty easy to see the connection.”

513. His doctor recommended a change in his diet and other minor accommodations to



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     address his anxiety and weight loss, but BCHOC overruled the medical recommendations

     and declined to give Mr. De Carvalho access to the treatment the doctor prescribed.

514. Despite the medical visit, nothing changed and never got proper treatment.

     Plaintiff Prado

515. Following the May 1 incident, Mr. Prado experienced severe pain and inflammation in

     his leg.

516. For 30 days, he was unable to stand on his injured leg.



517. He continues to require pain relievers and is unable to run because of the pain he

     continues to feel.

518. Mr. Prado continues to feel pain and weakness in his lungs when he exercises.

519. His prescription glasses were also broken on May 1st and he was denied glasses for many

     weeks.

520. When he finally received glasses, he was given generic reading glasses instead of

     prescription lenses he requires to read.

521. Despite many attempts to acquire the proper glasses over months, he never received them

     while he was at BCHOC.

522. Because of this, he suffered from headaches, eye strain, and difficulty seeing.

523. Because of the attacks from officers, Mr. Prado now suffers from insomnia and

     nightmares that involve him not being able to breath.

524. New symptoms of PTSD have manifested including having panic attacks and

     depressions. Furthermore, every time Mr. Prado feels threatened, he had to work to hold

     his urine. He also suffers from tremors that impede his ability to write well.



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525. Because of Mr. Prado’s inability to share time with his family, he feels guilt that he is

     unable to support them, compounding his PTSD symptoms.

     Plaintiff Fernandez

526. Mr. Fernandez experience fear, anxiety, and uncertainty from being detained at BCHOC

     during COVID.

527. The lack of adequate methods to protect himself exacerbated Mr. Fernandez’s distress

     while in detention.

528. He experienced humiliation, emotional distress and loss of enjoyment of life.



     Plaintiff Battistotti

529. To this day, Mr. Battistotti still experiences ongoing pain in his hands and was recently

     informed by his doctor that he most likely suffered permanent nerve damage.

530. He continues to have chronic pain in his knee and foot.

531. Mr. Battistotti’s mental health significantly deteriorated following the May 1 incident and

     his time in isolation. Mr. Battistotti has seen a marked worsening of his symptoms of

     anxiety and depression.

532. He often has flashbacks (PTSD)of the trauma inflicted by being assaulted by the Sheriff.

533. He was placed on medication (an anti-depressant/ anti-anxiety) for PTSD. His original

     dose was ineffective, but ithas since been doubled, resulting in excessive sleep, even in

     daytime.



                                   CAUSES OF ACTION


      Count 1: Violation of Fifth Amendment Right to Due Process - Unlawful
Punishment; Freedom from Cruel Treatment and Conditions of Confinement (Bivens).

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All Plaintiffs Against Defendants Sheriff Hodgson, Superintendent Souza, Director Lyons.

 534. Plaintiffs realleges and incorporates by reference each and every allegation contained in

      the preceding paragraphs as if set forth fully herein.

 535. The Fifth Amendment to the U.S. Constitution guarantees that civil detainees, including

      all immigrant detainees, may not be subjected to punishment. The government violates

      this substantive due process right when it subjects civil detainees to treatment and

      conditions of confinement that amounts to punishment or does not ensure the detainees’

      safety and health.

 536. Defendants Sheriff Hodgson, Superintendent Souza, and Director Lyons, acted under

      color of federal law to subject all Plaintiffs to conditions of confinement that include the

      imminent risk of contracting COVID-19, a deadly disease for which there is no known

      understanding of the long-term side effects of exposure.

 537. As public health experts in correctional medical care and infectious disease agree,

      individuals and families in immigration detention are at grave risk of COVID-19

      infection.

 538. Defendants Sheriff Hodgson, Superintendent Souza, and Director Lyons consistently

      disregarded requests from Plaintiffs and other detainees to adhere to social distancing

      measures, provide cleaning supplies, and apply broader testing to protect detainees.

 539. Defendants Sheriff Hodgson, Superintendent Souza, and Director Lyons also disregarded

      this court’s orders to take proactive means to address the risk of COVID, consistently

      disregarding directive to increase testing, and constantly refused to release individuals on

      bail even when directed by the court.




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       Count 2: Violation of Fifth Amendment Right to Due Process – Unlawful
Punishment; Freedom from Cruel Treatment and Conditions of Confinement (42 U.S.C. §
    1983) All Plaintiffs against Individual Capacity Defendants Sheriff Hodgson and
                                   Superintendent Souza

 537. The foregoing allegations are re-alleged and incorporated herein by reference.

 538. The Fifth Amendment to the U.S. Constitution guarantees that civil detainees, including

      all immigrant detainees, may not be subjected to punishment. The government violates

      this substantive due process right when it subjects civil detainees to treatment and

      conditions of confinement that amounts to punishment or does not ensure the detainees’

      safety and health.

 539. Defendants acted under color of state law to subject Plaintiffs to conditions of

      confinement that include the imminent risk of contracting COVID-19, a deadly disease

      for which there is no known understanding of the long-term side effects of exposure.

 540. As public health experts in correctional medical care and infectious disease agree,

      individuals and families in immigration detention are at grave risk of COVID-19

      infection.

 541. Defendants Sheriff Hodgson, and Superintendent Souza acted under color of state law to

      subject Plaintiffs to conditions of confinement that include the imminent risk of

      contracting COVID-19, a deadly disease for which there is no known understanding of

      the long-term side effects of exposure.

 542. As public health experts in correctional medical care and infectious disease agree,

      individuals and families in immigration detention are at grave risk of COVID-19

      infection.




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 543. Defendants Sheriff Hodgson and Superintendent Souza consistently disregarded requests

      from Plaintiffs and other detainees to adhere to social distancing measures, provide

      cleaning supplies, and apply broader testing to protect detainees.

 544. Defendants Sheriff Hodgson and Superintendent Souza also disregarded this court’s

      orders to take proactive means to address the risk of COVID, consistently disregarding

      directive to increase testing, and constantly refused to release individuals on bail even

      when directed by the court.

 545. These Defendants have subjected Plaintiffs to imminent risk of physical, emotional and

      mental harm in violation of Plaintiffs’ rights under the Due Process Clause.

 546. Accordingly, these Defendants have subjected Plaintiffs to cruel and unusual treatment

      that amounts to punishment and that fail to ensure their safety and health which shocks

      the conscience in violation of the Fifth Amendment of the Constitution.

 547. This cause of action for the violation of Plaintiff’s Fifth Amendment right is brought

      pursuant to 42 U.SC. § 1983.


 Count 3: Excessive Force Plaintiffs Fall, Galindo, Shigla, Armijos, Guallán Tixi, Lucas,
Wafula, Lewis, Menjivar Rojas, Pillco Morocho, Prado, and Battistotti against Doe Officer
                                  #1 (42 U.S.C § 1983)

 537. The foregoing allegations are re-alleged and incorporated herein by reference.

 538. Defendants violate the constitutional rights of immigration detainees when they

      purposely or knowingly used force against the plaintiff that was objectively unreasonable,

      Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

 539. Defendant Doe #1 knowingly and indiscriminately used chemical agents against

      Plaintiffs Fall, Galindo, Shigla, Armijos, Guallán Tixi, Lucas, Wafula, Lewis, Menjivar




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     Rojas, Pillco Morocho, Prado and Battistotti despite Plaintiffs lack of physical resistance

     or combativeness.

540. Defendant Doe #1 used chemical agents listed Plaintiffs, as described above. This use was

     not rationally related to a legitimate governmental purpose or, alternatively, were excessive

     in relation to any legitimate governmental purpose.

541. Alternatively, Defendant Doe #1’s use of force against listed Plaintiffs was objectively

     unreasonable.


Count 4: Excessive Force Plaintiffs Pillco Morocho, and Prado against Doe Officer #2 (42
                                      U.S.C § 1983)

548. The foregoing allegations are re-alleged and incorporated herein by reference.

549. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

550. Defendant Doe #2 knowingly and indiscriminately threw flash bang grenades at several

     non-violent and non-resisting detainees. These grenades, as described above, physically

     injured Plaintiffs Pillco Morocho and Prado.

551. Defendant Doe #2 used flash bang grenades against listed Plaintiffs, as described above.

     This use was not rationally related to a legitimate governmental purpose or, alternatively,

     were excessive in relation to any legitimate governmental purpose.

552. Alternatively, Defendant Doe #2’s use of force against listed Plaintiffs was objectively

     unreasonable.

      Count 5: Excessive Force Plaintiff Fall Against Does #3-5 (42 U.S.C § 1983)

537. The foregoing allegations are re-alleged and incorporated herein by reference.



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538. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

539. Defendant Does #3-5 knowingly and maliciously used force against Plaintiff Fall as

     described in paragraphs 193-201. This force included stomping on kicking Mr. Fall and

     pepper spraying him despite his lack of resistance.



540. Defendant Does #3-5 use of force against Mr. Fall was excessive, was not rationally related

     to a legitimate governmental purpose or, alternatively, were excessive in relation to any

     legitimate governmental purpose.

541. Alternatively, Defendant Does #3-5 use of force against listed Mr. Fall was objectively

     unreasonable.

     Count 6: Excessive Force Plaintiff Galindo Against Doe #6 (42 U.S.C § 1983)

537. The foregoing allegations are re-alleged and incorporated herein by reference.

538. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

539. Defendant Doe #6 knowingly and maliciously used force against Plaintiff Galindo as

     described in paragraphs 202-203. This force included restraining and exerting physical

     force upon Mr. Galindo.

540. The actions of Defendant Doe #6’s against Mr. Galindo were excessive, was not rationally

     related to a legitimate governmental purpose or, alternatively, were excessive in relation to

     any legitimate governmental purpose.



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541. Alternatively, Defendant Does #6 use of force against listed Mr. Galindo was objectively

     unreasonable.


     Count 7: Excessive Force Plaintiff Shigla Against Doe #7-8 (42 U.S.C § 1983)

537. The foregoing allegations are re-alleged and incorporated herein by reference.



538. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

539. Defendant Doe #7-8 knowingly and maliciously used force against Plaintiff Shigla as

     described in paragraphs 204-206. This force included shooting Mr. Shigla with rubber

     bullets and instructing a dog to attack him.

540. Defendants Doe #7-8’s use of force against Mr. Shigla was excessive, was not rationally

     related to a legitimate governmental purpose or, alternatively, were excessive in relation to

     any legitimate governmental purpose.

541. Alternatively, Defendant Does #7-8 use of force against Mr. Shigla was objectively

     unreasonable.


    Count 8: Excessive Force Plaintiff Armijos Against Doe #9-10 (42 U.S.C § 1983)

537. The foregoing allegations are re-alleged and incorporated herein by reference.

538. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).




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539. Defendant Doe #9-10 knowingly and maliciously used force against Plaintiff Armijos as

     described in paragraphs 207-209. This force included shooting Mr. Armijos with rubber

     bullets and violently restraining him.

540. Defendant Doe #9-10’s use of force against Mr. Armijos was excessive, was not rationally

     related to a legitimate governmental purpose or, alternatively, were excessive in relation to

     any legitimate governmental purpose.

541. Alternatively, Defendant Does #9-10 use of force against Mr. Armijos was objectively

     unreasonable.


 Count 9: Excessive Force Plaintiff Guallán Tixi Against Doe #10-11 (42 U.S.C § 1983)

542. The foregoing allegations are re-alleged and incorporated herein by reference.

543. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

544. Defendant Doe #11-12 knowingly and maliciously used force against Plaintiff Guallán

     Tixi as described in paragraphs 210-217. This force included violently restraining Mr.

     Guallán Tixi despite his pre-existing injuries, and stomping on his back and neck.

545. Defendant Doe #11-12’s use of force against Mr. Guallán Tixi was excessive, was not

     rationally related to a legitimate governmental purpose or, alternatively, were excessive in

     relation to any legitimate governmental purpose.

546. Alternatively, Defendant Does #11-12 use of force against Mr. Guallán Tixi was

     objectively unreasonable.


   Count 10: Excessive Force Plaintiff Lucas Against Doe #13-15 (42 U.S.C § 1983)



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547. The foregoing allegations are re-alleged and incorporated herein by reference.

548. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

549. Defendant Doe #13-15 knowingly and maliciously used force against Plaintiff Lucas as

     described in paragraphs 218-223. This force included beating Mr. Lucas and pepper

     spraying him in the face.

550. Defendant Doe #13-15’s use of force against Mr. Lucas was excessive, was not rationally

     related to a legitimate governmental purpose or, alternatively, were excessive in relation to

     any legitimate governmental purpose.

551. Alternatively, Defendant Does #13-15 use of force against listed Mr. Lucas was objectively

     unreasonable.

   Count 11: Excessive Force Plaintiff Wafula Against Doe #16-17 (42 U.S.C § 1983)

537. The foregoing allegations are re-alleged and incorporated herein by reference.

538. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

539. Defendant Does #16-17 knowingly and maliciously used force against Plaintiff Wafula as

     described in paragraphs 224-236. This force included beating Mr. Wafula and pepper

     spraying him in the face.

540. Defendants Doe #16-17’s use of force against Mr. Wafula was excessive, was not rationally

     related to a legitimate governmental purpose or, alternatively, were excessive in relation to

     any legitimate governmental purpose.



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 541. Alternatively, Defendant Does #16-16 use of force against listed Mr. Wafula was

      objectively unreasonable.

     Count 12: Excessive Force Plaintiff Lewis Against Doe #18-19 (42 U.S.C § 1983)

 537. The foregoing allegations are re-alleged and incorporated herein by reference.

 538. Defendants violate the constitutional rights of immigration detainees when they

      purposely or knowingly used force against the plaintiff that was objectively unreasonable,

      Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

 539. Defendant Doe #18-19 knowingly and maliciously used force against Plaintiff Lewis as

      described in paragraphs 237-250. This force included shooting Mr. Lewis with rubber

      bullets and pepper spraying him.

 540. The actions of Defendants Doe #18-19’s use of force against Mr. Lewis was excessive,

      was not rationally related to a legitimate governmental purpose or, alternatively, were

      excessive in relation to any legitimate governmental purpose.

 541. Alternatively, Defendant Does #18-19’s use of force against Mr. Lewis was objectively

      unreasonable.

Count 13: Excessive Force Plaintiff Menjivar Rojas Against Doe #20-21 (42 U.S.C § 1983)

 542. The foregoing allegations are re-alleged and incorporated herein by reference.

 543. Defendants violate the constitutional rights of immigration detainees when they

      purposely or knowingly used force against the plaintiff that was objectively unreasonable,

      Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

 544. Defendant Does #20-21 knowingly and maliciously used force against Plaintiff Lucas as

      described in paragraphs 251-262. This force included beating Mr. Menjivar Rojas and

      pepper spraying him.



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545. Defendant Doe #20-21s’ use of force against Mr. Menjivar Rojas was excessive, was not

     rationally related to a legitimate governmental purpose or, alternatively, were excessive in

     relation to any legitimate governmental purpose.

546. Alternatively, Defendant Does #20-21’s use of force against listed Menjivar Rojas was

     objectively unreasonable.

Count 14: Excessive Force Plaintiff Pillco Morocho Against Doe #22-23 (42 U.S.C § 1983)

537. The foregoing allegations are re-alleged and incorporated herein by reference.

538. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

539. Defendant Doe #22-23 knowingly and maliciously used force against Plaintiff Lucas as

     described in paragraphs 263-268. This force included stomping on Mr. Pillco Morocho’s

     neck and pepper spraying him.

540. The actions of Defendants Doe #22-23’s use of force against Mr. Pillco Morocho was

     excessive, was not rationally related to a legitimate governmental purpose or, alternatively,

     were excessive in relation to any legitimate governmental purpose.

541. Alternatively, Defendant Does #22-23’s use of force against Pillco Morocho was

     objectively unreasonable.

      Count 15: Excessive Force Plaintiff Prado Against Doe #24 (42 U.S.C § 1983)

547. The foregoing allegations are re-alleged and incorporated herein by reference.

548. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

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549. Defendant Doe #24 knowingly and maliciously used force against Plaintiff Prado as

     described in paragraphs 269-288. This force included beating Mr. Prado and pepper

     spraying him in the face.

550. Defendant Doe #24’s use of force against Mr. Prado was excessive, was not rationally

     related to a legitimate governmental purpose or, alternatively, were excessive in relation to

     any legitimate governmental purpose.

551. Alternatively, Defendant Doe #24’s use of force against Mr. Prado was objectively

     unreasonable.

Count 16: Excessive Force Plaintiff Battistotti Against Defendant Hodgson and Does #25-
                                  26 (42 U.S.C § 1983)

537. The foregoing allegations are re-alleged and incorporated herein by reference.

538. Defendants violate the constitutional rights of immigration detainees when they

     purposely or knowingly used force against the plaintiff that was objectively unreasonable,

     Kingsley v. Hendrickson, 576 U.S. 389, 391 (2015).

539. Defendant Hodgson and Does #25-26 knowingly and maliciously used force against

     Plaintiff Battistotti as described in paragraphs 289-302. This force included shaking Mr.

     Battistotti, smashingMr. Battistotti’s head into the wall and tightly zip-tying his hands.

540. The actions of Defendant Hodgson and Does #25-26 Mr. Battistotti were excessive, was

     not rationally related to a legitimate governmental purpose or, alternatively, were excessive

     in relation to any legitimate governmental purpose.

541. Alternatively, Defendant Hodgson and Doe #25-26’s use of force against Mr. Battistotti

     was objectively unreasonable.




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                         Count 16: Violation of Rehabilitation Act
Plaintiffs Fall, Wafula, Menjivar Rojas, Prado, and Fernando Against the Department of
  Homeland Security, Immigration and Customs Enforcement, and the Bristol County
                                     Sheriff’s Office

542. Plaintiff realleges and incorporate by reference each and every allegation contained in

     the preceding paragraphs as if set forth fully herein

543. Section 504 of the Rehabilitation Act requires federal agencies to provide “reasonable

     accommodations” to individuals with disabilities so they can fully participate in benefits

     administered by these agencies. 29 U.S.C. § 794(a).

544. DHS regulations implementing the Rehabilitation Act mandate that “[n]o qualified

     individual with a disability in the United States, shall, by reason of his or her disability,

     be excluded from participation in, be denied benefits of, or otherwise be subjected to

     discrimination under any program or activity conducted by the Department.” 6 C.F.R. §

     15.30; see also 29 U.S.C. §794(a).

545. The regulations implementing Section 504 prohibit entities receiving federal financial

     assistance from utilizing “criteria or methods of administration (i) that have the effect of

     subjecting qualified handicapped persons to discrimination on the basis of handicap, (ii)

     that have the purpose or effect of defeating or substantially impairing the accomplishment

     of the objectives of the recipient’s program or activity with respect to handicapped

     persons.” 34 C.F.R. § 104.4(b)(4).

546. BCSO and BCHOC receive federal funds, in particular, for their detention of civil

     immigration detainees




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547. Mr. Fall’s underlying tuberculosis, torn rotator cuff and white blood cell conditions

     qualify as disabilities for purposes of the Rehabilitation Act. 29 U.S.C. § 705(2)(B); 42

     U.S.C. § 12102.

548. Mr. Wafula’s damaged knees and PTSD qualify as disabilities for purposes of the

     Rehabilitation Act. 29 U.S.C. § 705(2)(B); 42 U.S.C. § 12102.

549. Mr. Menjivar Rojas’s asthma qualifies as a disability for purposes of the Rehabilitation

     Act. 29 U.S.C. § 705(2)(B); 42 U.S.C. § 12102.

550. Mr. Prado’s asthma, PTSD and metallic leg qualify as disabilities for purposes of the

     Rehabilitation Act. 29 U.S.C. § 705(2)(B); 42 U.S.C. § 12102.

551. Mr. Fernando’s tuberculosis qualifies as a disability for purposes of the Rehabilitation

     Act. 29 U.S.C. § 705(2)(B); 42 U.S.C. § 12102.

552. By failing to provide above listed Plaintiffs with adequate protection from COVID-19

     through the only effective means to reduce the risk of severe illness or death, Defendants

     denied above mentioned Plaintiffs access to programs services or activities such as a safe

     place to sleep.

553. Defendants’ continued detention of Plaintiffs during the COVID -19 constitutes

     discrimination because it is either disparate treatment of, or at the very least has a

     disparate impact on, people with qualifying disabilities, like Plaintiffs, who are at severe

     risk of serious illness or death if they were to contract COVID-19.

554. Additionally, for failing to accommodate Messrs. Wafula, Fall and Prado’s physical

     disabilities during the planned use of force on May 1, 2020, Defendants put those

     disabled individuals at a higher risk of harm in contrast to able bodied detainees.




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555. Defendants knew of these underlying conditions and nonetheless continued their

     dangerous actions.

556. For these reasons, Defendants’ ongoing detention of Plaintiffs violates the Rehabilitation

     Act.


                  Count 17: Violation of Americans with Disabilities Act
Plaintiffs Fall, Wafula, Menjivar Rojas, Prado, and Fernando Against the Bristol County
                                     Sheriffs’ Office


557. Title II of the American with Disabilities Act of 1990 prohibits discrimination by state

     and local agencies against individuals with disabilities and requires state agencies to

     provide “reasonable accommodations” to individuals with disabilities so they can fully

     participate in benefits administered by these agencies. 42 U.S.C. § 12101

558. BCSO’s detention of during the COVID -19 constitutes disability discrimination because

     it is either disparate treatment of, or at the very least has a disparate impact on, people

     with qualifying disabilities who are at severe risk of serious illness or death if they were

     to contract COVID-19.

559. Defendants’ failure to provide protection, treatment, or additional accommodations to

     Plaintiffs, while in Unit B, in solitary confinement, and while being processed for

     deportation despite having tuberculosis, constitutes as discrimination because of its

     disparate impact on people with severe risk of serious illness.

560. Defendants’ use of pepper spray and failure to consider Plaintiffs’ disabilities and other

     health issues in the May 1, 2020 attack, constitutes discrimination either in its disparate

     treatment and disparate impact on individuals with qualifying disabilities, such as Mr.

     Fall.



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561. For these reasons, Defendants’ ongoing detention of Plaintiffs violates the Americans

     with Disabilities Act.



562. Mr. Fall’s underlying tuberculosis, torn rotator cuff and white blood cell conditions

     qualify as disabilities for purposes of the ADA.

563. Mr. Wafula’s damaged knees and PTSD qualify as disabilities for purposes of the ADA.

564. Mr. Menjivar Rojas’s asthma qualifies as a disability for purposes of the ADA.

565. Mr. Prado’s asthma, PTSD and metallic leg qualify as disabilities for purposes of the

     ADA.

566. Mr. Fernando’s tuberculosis qualifies as a disability for purposes of the ADA.

567. By failing to provide above listed Plaintiffs with adequate protection from COVID-19

     through the only effective means to reduce the risk of severe illness or death, Defendants

     denied above mentioned Plaintiffs access to programs services or activities such as a safe

     place to sleep.

568. Defendants’ continued detention of Plaintiffs during the COVID -19 constitutes

     discrimination because it is either disparate treatment of, or at the very least has a

     disparate impact on, people with qualifying disabilities, like Plaintiffs, who are at severe

     risk of serious illness or death if they were to contract COVID-19.

569. Additionally, for failing to accommodate Messrs. Wafula, Fall and Prado’s physical

     disabilities during the planned use of force on May 1, 2020, Defendants put those

     disabled individuals at a higher risk of harm in contrast to able bodied detainees.

570. Defendants knew of these underlying conditions and nonetheless continued their

     dangerous actions.



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                       Federal Tort Claims Act-28 U.S.C. § 1346(b)

                             Count 18: Negligent Maintenance
                    (by All Plaintiffs against Defendant United States)

571. The foregoing allegations are re-alleged and incorporated herein by reference.

572. Under Massachusetts law, negligence requires a showing of: (1) a duty of care to the

     plaintiff; (2) a breach of that duty; (3) proximate causation; and (4) damage to the

     plaintiff. Bennett v. Eagle Brook Country Store, 557 N.E.2d 1166, 1168 (Mass. 1990).

573. Defendants United States of America, DHS, and ICE owed Plaintiffs a duty of care.

     There was a special relationship between Mr. Fall since the Defendants reasonably could

     foresee that they would be expected to take affirmative action to protect Mr. Fall and

     could anticipate harm to Mr. Fall from failure to do so. See Irwin v. Town of Ware, 467

     N.E.2d 1292, 1300 (Mass. 1984).

574. They are solely responsible for the custody and maintenance of the facility where

     detainees have no other means of control over their living space, therefore it was

     reasonably foreseeable that they were required to take affirmative steps to protect

     detainees through consistent maintenance of common areas and living space during a

     deadly virus such as COVID-19.

575. Defendants United States of America, DHS, and ICE published clearly established

     standards for basic safety and hygiene in detention facilities. Defendants did not follow

     this internal guidance. See Immigration Customs Enforcement, Performance-Based

     National Detention Standards on Medical Care (Dec. 2016) (Rule 1.2, 4.5, and 4.8 )




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576. Defendants breached that duty because Plaintiffs were subject to dehumanizing

     conditions of confinement during COVID-19 and was given no protection, social

     distancing, or cleaning supplies despite repeated requests for additional supplies and care.

577. Defendants’ negligent maintenance of BCHOC is was proximate cause of Plaintiff’s

     heightened risk of COVID-19.

578. Plaintiffs suffered possible exposure to COVID-19 as well as emotional and

     psychological injuries as a result of the defendants’ negligent maintenance.

579. Pursuant to the Federal Tort Claims Act, Defendant United States is liable for the

     individual defendant officers’ actions.

580. Plaintiffs have exhausted the presentment requirements of the FTCA.



                                    Count 19: Assault
(by Messrs. Fall, Galindo, Shigla, Armijos, Guallán Tixi, Lucas, Wafula, Lewis, Menjivar
     Rojas, Pillco Morocho, Prado, and Battistotti against Defendant United States)

581. The foregoing allegations are re-alleged and incorporated herein by reference.

582. Under Massachusetts law, the elements of assault are: (1) the defendant acts intending to

     cause a harmful or offensive contact with another, or an imminent apprehension of such a

     contact; and (2) apprehension is created and experienced by the other person.

     Commonwealth v. Henson, 259 N.E.2d 769, 773–74 (Mass. 1970).

583. Listed Plaintiffs were unjustifiably and unreasonably beaten, pepper sprayed, shot and

     otherwise attacked by individual Doe officers as described above during the May 1, 2020,

     attack.

584. The Defendants assaulted listed Plaintiffs when they intentionally acted in a way that

     created an apprehension of immediate harm during these physical beatings.



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585. As a result of the overt acts of individual officers and Sheriff Hodgson, Plaintiffs suffered

     the described extensive physical and emotional injuries, as well as humiliation.

586. The individual officers and Sheriff Hodgson committed these acts as employees of the

     United States while acting in the scope of their employment: they acted within the scope

     of the general authority granted to them, in furtherance of their employer’s business, and

     for the accomplishment of the objectives for which they were hired.

587. Pursuant to the Federal Tort Claims Act, Defendant United States is liable for the

     individual defendant officers’ actions.

588. All listed plaintiffs have met the presentment requirements imposed by the FTCA.



                                    Count 20: Battery
(by Messrs. Fall, Galindo, Shigla, Armijos, Guallán Tixi, Lucas, Wafula, Lewis, Menjivar
     Rojas, Pillco Morocho, Prado, and Battistotti against Defendant United States)

589. The foregoing allegations are re-alleged and incorporated herein by reference.Under

     Massachusetts law, the elements of battery are: (1) the defendant acts intending tocause a

     harmful or offensive contact with another; and (2) the harmful or offensive contactwith

     another person directly or indirectly results. Waters v. Blackshear, 591 N.E.2d 184, 185

     (Mass. 1992).

590. Plaintiffs were subjected to multiple unjustifiable and unreasonable beatings, pepper

     spraying, and other attacks during the May 1, 2020 attack, as described above.

591. Sheriff Hodgson and individual officers committed batteries against the listed plaintiffs

     when they intentionally caused harm to them in their use of violence which included

     punching him, kicking, pepper spray, rubber bullets, attack dogs, and excessively tight

     restraints.



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592. As a result of the defendants’ multiple batteries, Plaintiffs suffered from extensive

     physical and emotional injuries, as well as humiliation as described in the complaint.

593. Sheriff Hodgson and individual officers committed these acts as employees of the United

     States while acting in the scope of their employment: they acted within the scope of the

     general authority granted to them, in furtherance of their employer’s business, and for the

     accomplishment of the objectives for which they were hired.

594. Pursuant to the Federal Tort Claims Act, Defendant United States is liable for the

     individual defendant officers’ actions.

595. All listed plaintiffs have met the presentment requirements imposed by the FTCA.

                            Count 21: Negligent Medical Care
                    (by All Plaintiffs against Defendant United States)

596. The foregoing allegations are re-alleged and incorporated herein by reference.

597. Under Massachusetts law, negligence requires a showing of: (1) a duty of care to the

     plaintiff; (2) a breach of that duty; (3) proximate causation; and (4) damage to the

     plaintiff. Bennett v. Eagle Brook Country Store, 557 N.E.2d 1166, 1168 (Mass. 1990).

598. Defendants United States of America, DHS, ICE, and individual medical officers owed

     all Plaintiffs a duty of care. There was a special relationship between Defendants and

     Plaintiffs since the Defendants reasonably could foresee that they were required to take

     affirmative action to protect Plaintiffs and could anticipate harm to Plaintiffs from failure

     to do so. See Irwin v. Town of Ware, 467 N.E.2d 1292, 1300 (Mass. 1984).

599. Defendants are solely responsible for the custody and medical care of individuals

     detained in BCHOC where detainees have no other means of obtaining medical care.

     Therefore, it was reasonably foreseeable that they would be expected to take affirmative



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       steps to protect detainees from a deadly virus as well as provide detainees with proper

       care after injuries resulting from the assault by officers.

  600. Defendants United States of America, DHS, and ICE published clearly established

       standards for individual officers to follow for providing medical care. Defendants did not

       follow this internal guidance with regards to Plaintiffs. See Immigration Customs

       Enforcement, Performance-Based National Detention Standards on Medical Care (Dec.

       2016) (Rule 4.3, 4.5, and 4.8)

  601. Defendants breached that duty because they actively disregarded medical directions to

       safeguard against COVID-19, including directions by the Court, leaving Plaintiffs at risk

       of contracting the deadly virus.

  602. Individual medical officers committed these acts as employees of the United States while

       acting in the scope of their employment: they acted within the scope of the general

       authority granted to them, in furtherance of their employer’s business, and for the

       accomplishment of the objectives for which they were hired.

  603. Pursuant to the Federal Tort Claims Act, Defendant United States is liable for the

       individual Defendant officers’ actions.

  604. Plaintiffs have met the presentment requirements under the FTCA for this claim.




                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully requests that this Court enter a judgment against

Defendants and award the following relief:




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    1. Award compensatory and punitive damages pursuant to Plaintiffs Bivens claims, claims

        under 42 U.S.C § 1983, respective Plaintiffs’ claims under the ADA, the Rehab Act and

        the Federal Tort Claims Act in an amount to be proven at trial.

    2. Costs and reasonable attorneys’ fees and litigation costs to Plaintiffs’ attorneys.

    3. Grant any and all further relief that the Court deems just and proper.



                                    JURY TRIAL DEMANDED

Plaintiffs respectfully request a jury trial.




April 29, 2022
                                                                            Respectfully submitted
                                                                       Plaintiffs, by their attorneys,

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